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                                          May 26, 2020                           ·

        ·1· · · · · · · · UNITED STATES DISTRICT COURT

        ·2· · · · · · · · SOUTHERN DISTRICT OF FLORIDA

        ·3· · · · · · · · ·CASE NO. 9:18-cv-80176-BB/BR

        ·4
        · ·   ·IRA KLEIMAN, as the personal representative
        ·5·   ·of the Estate of David Kleiman, and
        · ·   ·W&K Info Defense Research, LLC,
        ·6
        · ·   · · · · · ·Plaintiffs,
        ·7
        · ·   ·-vs-
        ·8
        · ·   ·CRAIG WRIGHT,
        ·9
        · ·   · · · · · ·Defendant.
        10

        11· ·* * * * * * * * * * * * * * * * * * *

        12· ·VIDEOTAPED DEPOSITION OF JIMMY NGUYEN

        13· · · · · · · · · · · VOLUME II

        14· ·DATE TAKEN: May 26, 2020

        15· ·TIME: 12:05 p.m. - 3:05 p.m.

        16
        · · ·TAKEN BEFORE: RICK E. LEVY, RPR, FPR
        17· · · · · · · · ·AND NOTARY PUBLIC

        18

        19· ·* * * * * * * * * * * * * * * * * * *

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     ·1· ·APPEARANCES:

     ·2· ·On behalf of the Plaintiff:

     ·3·   ·   ·   ·   VEL FREEDMAN, ESQUIRE
     · ·   ·   ·   ·   JOSEPH DELICH, ESQUIRE
     ·4·   ·   ·   ·   STEPHEN LAGOS, ESQUIRE
     · ·   ·   ·   ·   ROCHE FREEDMAN, P.A.
     ·5·   ·   ·   ·   200 S. Biscayne Boulevard
     · ·   ·   ·   ·   Suite 5500
     ·6·   ·   ·   ·   Miami, Florida 33131

     ·7·   ·   ·   ·   ANDREW BRENNER, ESQUIRE
     · ·   ·   ·   ·   BOIES SCHILLER & FLEXNER, P.A.
     ·8·   ·   ·   ·   100 S.E 2nd Avenue
     · ·   ·   ·   ·   Suite 2800
     ·9·   ·   ·   ·   Miami, Florida 33131
     · ·   ·   ·   ·   abrenner@bsfllp.com
     10

     11· ·On behalf of the Defendant:

     12·   ·   ·   ·   ANDRES RIVERO, ESQUIRE
     · ·   ·   ·   ·   RIVERO MESTRE, P.A.
     13·   ·   ·   ·   2525 Ponce de Leon Boulevard
     · ·   ·   ·   ·   Suite 1000
     14·   ·   ·   ·   Coral Gables, Florida 33134

     15

     16· ·APPEARING ON BEHALF OF THE WITNESS:

     17·   ·   ·   ·   SPENCER SILVERGLATE, ESQUIRE
     · ·   ·   ·   ·   TREVOR GILLUM, ESQUIRE
     18·   ·   ·   ·   CLARKE SILVERGLATE, P.A.
     · ·   ·   ·   ·   799 Brickell Avenue
     19·   ·   ·   ·   Suite 900
     · ·   ·   ·   ·   Miami, Florida 33131
     20

     21· ·Also Present: Cristina Chappelle, The Videographer

     22

     23

     24

     25


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     · · · · · · · · · · · · · · I N D E X
     ·2· · · · · · · · · · · · · ·-· - -

     ·3· ·WITNESS:· · · · DIRECT· · CROSS· ·REDIRECT· ·RECROSS
     · · ·JIMMY NGUYEN
     ·4· ·BY MR. FREEDMAN:· 215

     ·5

     ·6· · · · · · · · · · · · · ·-· - -
     · · · · · · · · · · · · ·E X H I B I T S
     ·7· · · · · · · · · · · · · ·-· - -

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     ·1· · · · · · · · · · · ·- - -
     ·2· · · · THE VIDEOGRAPHER:· We are now on the record.
     ·3· ·Participants should be aware that this proceeding
     ·4· ·is being recorded and as such all conversations
     ·5· ·held will be recorded unless there is a request and
     ·6· ·an agreement to go off the record.
     ·7· · · · Private conversations and/or attorney-client
     ·8· ·interactions should be held outside the presence of
     ·9· ·the remote interface.· A link to the recording will
     10· ·be available to all parties to the case for up to
     11· ·90 days from today's date provided the requesting
     12· ·party has purchased a certified copy of the
     13· ·transcript.
     14· · · · This is the remote video recorded deposition
     15· ·of James Nguyen being taken on Monday the 26th of
     16· ·May 2020.· The time is now 4:09 p.m GMT, 12:09 p.m
     17· ·EST.
     18· · · · We are here in the matter of Kleiman vs
     19· ·Wright.· My name is Cristina Chappelle, remote
     20· ·video technician on behalf of US Legal Support.                I
     21· ·am not related to any party in this action nor am I
     22· ·financially interested in the outcome.
     23· · · · At this time will the reporter Rick Levy on
     24· ·behalf of US Legal Support please enter the
     25· ·statement for remote proceedings into the record?


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     ·1· · · · · · ·THE WITNESS:· Yes, I do.
     ·2· · · · · · · · · · · · · · - - -
     ·3· ·Thereupon,
     ·4· · · · · · · · · · · ·(JIMMY NGUYEN)
     ·5· · · · · · · · · · · ·having been first duly sworn or
     ·6· ·affirmed, was examined and testified as follows:
     ·7· · · · · · · · · · · DIRECT EXAMINATION
     ·8· · · · · · ·MR. SILVERGLATE:· Vel, before we begin can I
     ·9· · · · make a brief statement?· So Spencer Silverglate on
     10· · · · behalf of Jimmy Nguyen.· I just want to make clear
     11· · · · we're here because of a Court order directing us to
     12· · · · be here and on behalf of Mr. Nguyen and nChain and
     13· · · · Craig Wright we want to make sure we are not
     14· · · · waiving any privileges or work product protection.
     15· · · · · · ·We expressly reserve all rights under Judge
     16· · · · Rothstein's order she overruled certain objections.
     17· · · · My understanding is that this is a continuation of
     18· · · · Mr. Nguyen's deposition and the scope will be
     19· · · · limited to the questions that he was instructed not
     20· · · · to answer which the Court has overruled.
     21· · · · · · ·In that deposition there is one hour and 28
     22· · · · minutes left for the -- to equal the seven hour
     23· · · · time limit under the federal rules and so our
     24· · · · understanding is that the deposition will be
     25· · · · limited to that amount of time.· Thank you.


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     ·1· · · · · · ·MR. FREEDMAN:· So in our motion we
     ·2· · · · specifically requested three hours for the
     ·3· · · · deposition and Judge Rothstein granted our motion
     ·4· · · · to compel.· She did not qualify or deny that
     ·5· · · · request so we intend to be three hours.
     ·6· · · · · · ·If you end the deposition early we'll be
     ·7· · · · moving to compel again and as I told you Spencer if
     ·8· · · · we have to move to compel again we will certainly
     ·9· · · · be seeking sanctions.
     10· · · · · · ·MR. SILVERGLATE:· Okay.· And if I could
     11· · · · respond to that.· Yes, I know your motion asked for
     12· · · · three hours.· The order didn't address the time
     13· · · · limit so our view is that the default time limit of
     14· · · · the federal rules applies.
     15· · · · · · ·MR. RIVERO:· Let me just say on behalf of Dr.
     16· · · · Wright we join Mr. Silverglate's remarks.
     17· ·BY MR. FREEDMAN
     18·
     18 · · · Q.· ·Mr. Nguyen, good morning, how are you?
     19·
     19 · · · A.· ·Fine, thank you.
     20·
     20 · · · Q.· ·You understand that you're under oath today;
     21·
     21 ·correct?
     22·
     22 · · · A.· ·Yes.
     23· · · · · · ·MR. RIVERO:· Have we made appearances?· Maybe
     24· · · · something happened before I joined.
     25· · · · · · ·MR. SILVERGLATE:· No, we haven't.


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     ·1· · · · · · ·MR. RIVERO:· It's kind of normal to make
     ·2· · · · appearances in the deposition.· It would be the
     ·3· · · · first one in 34 years I've seen where you don't.
     ·4· · · · So my name is Andres Rivero, I represent Dr. Craig
     ·5· · · · Wright, the defendant in the case.
     ·6· · · · · · ·MR. FREEDMAN:· This case has a lot of firsts
     ·7· · · · for you, Andres.· This is Vel Freedman on behalf of
     ·8· · · · plaintiffs.· I'm here with Joe Delich also on
     ·9· · · · behalf of plaintiffs, Stephen Lagos also on behalf
     10· · · · of plaintiffs, my co-counsel Andrew Brenner also on
     11· · · · behalf of plaintiffs.
     12· · · · · · ·MR. RIVERO:· By the way Mr. Freedman, I don't
     13· · · · know why we have to get off on a bad foot.· I don't
     14· · · · know what you could possibly be referring to other
     15· · · · than behavior I've seen from counsel but let's go
     16· · · · on.
     17· · · · · · ·MR. FREEDMAN:· Okay.
     18· · · · · · ·MR. SILVERGLATE:· Spencer Silverglate again on
     19· · · · behalf of Mr. Nguyen and joining me is one of my
     20· · · · attorneys, Trevor Gillum.
     21· ·BY MR. FREEDMAN
     22· · · · Q.· ·Mr. Nguyen, in the litigation we have pending
     23· ·against you in the Western District of Washington you
     24· ·submitted two declarations.· Do you recall that?
     25· · · · A.· ·Yes.


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     ·1· · · · Q.· ·The second one in particular I would like to
     ·2· ·bring to your attention you submitted on May 6th and I'm
     ·3· ·going to share that with you.· Do you recall that
     ·4· ·declaration?
     ·5· · · · A.· ·Generally.
     ·6· · · · Q.· ·Do you see that declaration?· Excuse me, do
     ·7· ·you see that declaration on the screen now?
     ·8· · · · A.· ·I do.
     ·9· · · · · · ·MR. FREEDMAN:· Let's mark this declaration as
     10· · · · Exhibit 1 to the deposition.
     11· · · · · · ·(Plaintiff's Exhibit No. 1 was
     12· · · · · · ·marked for identification.)
     13· ·BY MR. FREEDMAN
     14· · · · Q.· ·I am going to -- let me know if you want to
     15· ·look at any particular area of it but I would like to
     16· ·direct your attention to the end of it.· All right?
     17· · · · A.· ·Yes.
     18· · · · Q.· ·So in paragraph 23 you said that you first met
     19· ·Dr. Wright in September of 2016 and you said that you
     20· ·only have limited knowledge of Mr. Kleiman or Dr.
     21· ·Wright's relationship with Mr. Kleiman based on
     22· ·information you read on line and only a few
     23· ·conversations with Dr. Wright in which Mr. Kleiman was
     24· ·briefly mentioned.· Do you see that?
     25· · · · A.· ·Yes.· I'm referring to the time period before


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     ·1· ·this lawsuit was filed.
     ·2· · · · Q.· ·Can you explain to me what is it that Dr.
     ·3· ·Wright told you about Mr. Kleiman before this lawsuit
     ·4· ·was filed?· What was stated in the few conversations?
     ·5· · · · A.· ·I don't remember specifics but I remember the
     ·6· ·topic of David Kleiman had come up just briefly a few
     ·7· ·times.· I think, you know, at one point Craig had
     ·8· ·mentioned that he had help editing the white paper, that
     ·9· ·Dave Kleiman was a very good friend of his and that Dave
     10· ·Kleiman helped him editing the white paper, talking
     11· ·about the original Bitcoin white paper.
     12· · · · Q.· ·At that time had he mentioned to you also that
     13· ·Dave Kleiman had access to the Satoshi e-mail account?
     14· · · · A.· ·I'm sorry, could you repeat that question?
     15· · · · Q.· ·Was that the time he mentioned that Dave
     16· ·Kleiman had access to the Satoshi e-mail account?
     17· · · · A.· ·I don't think so.
     18· · · · Q.· ·Then if you go with me, Mr. Nguyen, to
     19· ·paragraph 24 in that same declaration you say "after the
     20· ·Florida lawsuit was filed Dr. Wright and I had
     21· ·communications in which he provided me more information
     22· ·about Mr. Kleiman than he had previously mentioned."· Do
     23· ·you see that?
     24· · · · A.· ·Yes.
     25· · · · Q.· ·What did he provide you with additionally?


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     ·1· · · · A.· ·Well, this did not occur at any one moment in
     ·2· ·time.· It occurred over a period of time in
     ·3· ·conversations or discussions about the lawsuit.
     ·4· · · · Q.· ·Well, why don't you tell me what you recall
     ·5· ·from those periods of times?
     ·6· · · · A.· ·I would say that, you know, we discussed Dave
     ·7· ·Kleiman -- what Craig's relationship was with Dave.
     ·8· ·Obviously I hadn't read the complaint in the lawsuit so
     ·9· ·I think we discussed whether or not any of the just in
     10· ·general I didn't go into specific allegations with Craig
     11· ·but we discussed the nature of the lawsuit and obviously
     12· ·the lawsuit involved allegations about Craig's
     13· ·relationship with Dave.
     14· · · · · · ·So I asked him general questions about, you
     15· ·know, how did you work with him and we talked about
     16· ·things such as what was the nature of Dave Kleiman's
     17· ·involvement in helping Craig with Bitcoin.· Those kinds
     18· ·of things.
       · · · · Q.· ·Okay.· How did he say that he worked with Dave
     19·
       · ·Kleiman?
     20·
       · · · · A.· ·Very similar to what I testified before which
     21·
     22·
       · ·is that Dave he said -- let me back up.· Basically Craig
     23·
       · ·said he was the primary creator, inventor, architect of
     24·
       · ·Bitcoin.· It had been his life's work.· That he had been
       · ·working on it for many, many years before the Bitcoin
     25·


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     ·1· ·white paper became public to the world in different
     ·2· ·forms and many years attempts to create some form of
     ·3· ·digital currency or electronic cash that was available
     ·4· ·before.
     ·5· · · · · · ·This is something he worked on for many years
     ·6· ·as his life's work.· He did not reach out to many people
     ·7· ·about it.· He did reach out to Dave Kleiman because Dave
     ·8· ·was a very good friend of his.· Obviously, you know,
     ·9· ·knowledgeable I guess about the past attempts to create
     10· ·digital cash and that he asked -- I think he said he
     11· ·sent Dave a copy of the draft of the Bitcoin white paper
     12· ·and he asked him to help edit it which I believe Craig
     13· ·said Dave did and then I'm just trying to remember
     14· ·points in time here.
     15· · · · · · ·Then he said that there were several other
     16· ·people who provided Craig some assistance related to
     17· ·Bitcoin in his early days and -- and that's kind of sort
     18· ·of the start of the conversations we had.
       · · · · Q.· ·Okay.· Well, can you tell me more than just
     19·
       · ·the start of them?· What else did he tell you?
     20·
       · · · · A.· ·It's been a while.· Trying to remember the
     21·
     22·
       · ·points in time here.· At some point we had conversations
       · ·about whether he had been to Florida because I think in
     23·
       · ·the beginning of the case there were questions about the
     24·
       · ·extent of Craig's contact with Florida.· So I remember
     25·


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     ·1·
       · ·discussing that with Craig.
     ·2·
       · · · · · · ·I think he said the last time and maybe the
       · ·only time he had been to Florida was actually to visit
     ·3·
       · ·Dave Kleiman a number of years ago.· We did discuss that
     ·4·
       · ·but I don't think we got any details about the nature of
     ·5·
       · ·the visit.
     ·6·
     ·7·
      7 · · · · · ·At one point Craig told me that he was, you
     ·7
     ·8· ·know, very upset that Dave had not told him how sick
     ·9· ·Dave was in the final period of his life and that when
     10· ·Craig found out that Dave passed away that was very
     11· ·heartbreaking for Craig because Craig doesn't have a lot
     12· ·of close personal friends and Dave was one of them.· So
     13· ·I think he discussed the fact that he wished he had
     14· ·known Dave was as ill as he was.· I don't know what he
     15· ·would have done differently reached out to him.· He was
     16· ·upset about learning about Dave's death.
     17· · · · Q.· ·You mentioned earlier that Craig said -- Dr.
     18· ·Wright said that other people had helped him with the
     19· ·Bitcoin white paper as well.· Did he tell you who those
     20· ·people were?
     21· · · · A.· ·I didn't say that necessarily people helped
     22· ·Craig with the Bitcoin white paper.· I don't recall him
     23· ·mentioning other people who he said helped him with the
     24· ·editing of the white paper.· I think he only mentioned
     25· ·Dave Kleiman in that regard.· I know he mentioned Hal


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     ·1· ·Finney as someone who had some type of input and -- I
     ·2· ·cannot remember the name sitting here.
     ·3· · · · Q.· ·Did he ever mention Dave's -- Dave helping him
     ·4· ·with the coding of the Bitcoin client?
     ·5· · · · A.· ·I don't recall.
     ·6· · · · Q.· ·What did he tell you about Dave's access to
     ·7· ·Satoshi
         ·        Nakamoto each e-mail accounts?
     ·8· · · · A.· ·At some point Craig and I discussed the topic
H
     ·9· ·of
         ·   the online posts and these online forums that Satoshi
                                                                 i
     10· ·Nakamoto
         ·         had communicated to people interested in
     11· ·Bitcoin
         ·        about as well as I think there was an e-mail
     12· ·address
         ·        and I asked Craig who was writing the responses
     13· ·and
         ·    Craig said that he wrote a lot of the responses but
     14· ·there
         ·      were some that Dave wrote.
     15· · · · Q.· ·Did you ask him for any more specifics about
     16· ·who drafted what?
     17· · · · A.· ·No.
     18· · · · Q.· ·Does the e-mail account Satoshi@Vistamail.com
     19· ·ring a bell?
     20· · · · A.· ·I know there is a Satoshi or was a Satoshi
     21· ·account.· I don't recall the domain associated.
     22· · · · Q.· ·Has Dr. Wright's story about Dave's
     23· ·participation remained the same throughout beginning of
     24· ·your conversations with him until today or has that
     25· ·evolved over time?


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     ·1·
     ·1 · · · · A.· ·I would say from what he told me it was very
     ·2·
     ·2· ·consistent.
     ·3· · · · Q.· ·So Mr. Nguyen, Dr. Wright got served with this
     ·4· ·lawsuit in early February of 2018 or February of 2018
     ·5· ·and you said that he then reached out to you.· Do you
     ·6· ·recall that?
     ·7· · · · A.· ·Correct.
     ·8· · · · Q.· ·What did he say?
     ·9· · · · A.· ·I am being sued.· I think he was frustrated,
     10· ·upset he was being sued and that at some point he said
     11· ·well, you know, I need to find a lawyer and don't
     12· ·remember the exact words but then the net effect was
     13· ·asking if I could help him find counsel in the United
     14· ·States.
     15· · · · Q.· ·Did he send you a copy of the complaint?
     16· · · · A.· ·I don't know if I got it from him or from the
     17· ·public file.· I remember there was obviously some news
     18· ·coverage of it and I think some news stories had a link
     19· ·to the court files.· I don't recall where I first got a
     20· ·copy of the complaint.
     21· · · · Q.· ·After you reviewed the complaint did you call
     22· ·Dr. Wright to discuss it with him?
     23· · · · A.· ·At some point yes, we had some conversations
     24· ·about it.
     25· · · · Q.· ·Did you ask him if there were any truths to


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     ·1· ·the allegations in the complaint?
     ·2· · · · A.· ·I did not ask him that question.
     ·3· · · · Q.· ·Did you ask him something of that sort or
     ·4· ·substance?
     ·5· · · · A.· ·Well, I said, you know, what is really this
     ·6· ·case about.· What's the dispute about because, you know,
     ·7· ·when you read a lawsuit you want to know what the gist
     ·8· ·of it is about and what, you know, his general position
     ·9· ·is.· Obviously it was a long complaint so we didn't go
     10· ·over all of the particular details but we did discuss
     11· ·the general nature of it.
     12· · · · Q.· ·Did you ask him specifically about the
     13· ·complaint's allegations of a partnership with Dave
     14· ·Kleiman?
     15· · · · A.· ·I don't know if I asked him that question.                I
     16· ·know we did discuss --
     17· · · · Q.· ·You broke up, I'm sorry.· Can you say that
     18· ·again?
     19· · · · A.· ·I don't know that I asked him that specific
     20· ·question but we did discuss the topic.
     21· · · · Q.· ·Did he concede that there was a partnership
     22· ·between him and Dave Kleiman?
     23· · · · A.· ·No.
     24· · · · Q.· ·Did he say that he had ever previously
     25· ·referred to Dave Kleiman as his partner?


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     ·1· · · · A.· ·No.
     ·2·
       · · · · Q.· ·Did he say there was no partnership between
       · ·him and Dave Kleiman?
     ·3·
       · · · · A.· ·Yes.
     ·4·
     ·5· · · · Q.· ·Did you ask him how he was going to prove
     ·6· ·that?
     ·7· · · · A.· ·No, I don't think I asked him that question.
     ·8· · · · Q.· ·Did you tell anybody else about the moment --
     ·9· ·strike that.· Did you tell Calvin Ayre about the lawsuit
     10· ·when Craig reached out to you?
     11· · · · A.· ·I don't know if I told Calvin or he had
     12· ·already known about it.· Obviously there was people who
     13· ·learned quickly about the lawsuit through some of the
     14· ·media.
     15· · · · Q.· ·What were Calvin's comments when you finally
     16· ·talked to him about the lawsuit was finally known to
     17· ·both of you?
     18· · · · A.· ·I think his first lawsuit was -- I think
     19· ·Calvin's first general response was, you know, well,
     20· ·this lawsuit does not seem nice but he -- it's a matter
     21· ·between Craig and someone from his past.· I think
     22· ·Calvin's main response to me was focused on the fact
     23· ·that the lawsuit was premised on Craig being involved in
     24· ·or driving the creation of Bitcoin and therefore
     25· ·actually being Satoshi Nakamoto because at the time and


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     ·1· ·still today there's this big question among the minds of
     ·2· ·many people particularly in the digital currency
     ·3· ·industry about whether or not Craig is Satoshi Nakamoto
     ·4· ·creator of Bitcoin.
     ·5· · · · · · ·So Calvin's main response about the lawsuit
     ·6· ·any time I had communications with him about it were
     ·7· ·really focused on the fact that well, doesn't this
     ·8· ·lawsuit the whole foundation require people to accept
     ·9· ·that Craig is involved in the creation of Bitcoin as
     10· ·Satoshi Nakamoto because that's what Craig says and the
     11· ·Kleiman estate's lawsuit says both were involved in the
     12· ·creation of Bitcoin so both sides essentially in the
     13· ·lawsuit agree he was involved in the creation of
     14· ·Bitcoin.· That was Calvin's sort of main reaction to it.
     15· · · · Q.· ·There was no concern over liability?
     16· · · · A.· ·Liability to who?
     17· · · · Q.· ·To the Kleiman estate.
     18· · · · A.· ·I mean Calvin never expressed that to me.
     19· · · · Q.· ·At some point in time you reviewed the
     20· ·complaint in the action Mr. Nguyen?
     21· · · · A.· ·Sorry, can you repeat that?
     22· · · · Q.· ·At some point in time you reviewed all the
     23· ·complaints in this action; right?
     24· · · · A.· ·I didn't review all of the complaints.               I
     25· ·reviewed the original complaint.· I think at one point I


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     ·1· ·may have done a quick scan of an amended complaint.               I
     ·2· ·don't know if there was any more than that.
     ·3· · · · Q.· ·Well, there is a Second Amended Complaint that
     ·4· ·has the count for civil theft.· Did you see that count
     ·5· ·in the complaint?
     ·6· · · · A.· ·I don't think so.
     ·7· · · · · · ·MR. FREEDMAN:· I'm going to share with you a
     ·8· · · · copy of the amended complaint that was filed in
     ·9· · · · this case.· Let's mark that as Exhibit B.· Exhibit
     10· · · · 2, my mistake.· Exhibit 2.
     11· · · · · · ·(Plaintiff's Exhibit No. 2 was
     12· · · · · · ·marked for identification.)
     13· ·BY MR. FREEDMAN
     14· · · · Q.· ·I want to bring you Mr. Nguyen down to -- do
     15· ·you recall reading this allegation in the complaint.
     16· ·It's the paragraph 88 of the complaint and it recounts
     17· ·in an e-mail from Ira to Craig on Saturday March 1st
     18· ·2014 saying "just to clarify our thoughts from our
     19· ·previous e-mail in one of the e-mail exchanges between
     20· ·Dave and you you mentioned that you had one million
     21· ·Bitcoins in the trust since you said he had 300,000 as
     22· ·his part I was figuring the other 700,000 is yours; is
     23· ·that correct, Ira."· Then there is a response from Dr.
     24· ·Wright where he responds back to that Ira saying "around
     25· ·that minus what was needed for the company's use."· Do


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     ·1· ·you recall reading this allegation in the complaint?
     ·2· · · · A.· ·I don't recall either way or not.
     ·3· · · · Q.· ·Do you recall ever asking Dr. Wright about
     ·4· ·this e-mail exchange?
     ·5· · · · A.· ·No.
     ·6· · · · Q.· ·You would agree with me it seems Dr. Wright is
     ·7· ·telling Ira that 300,000 of Bitcoin in the trust
     ·8· ·belonged to him; right?
     ·9· · · · · · ·MR. SILVERGLATE:· Object to the form.
     10· · · · · · ·MR. RIVERO:· Join.
     11· · · · · · ·THE WITNESS:· I don't have any basis to answer
     12· · · · that, what was in Craig's state of mind when he
     13· · · · wrote this e-mail.
     14· ·BY MR. FREEDMAN
     15· · · · Q.· ·Just asking how you interpret that language.
     16· · · · · · ·MR. RIVERO:· Objection.
     17· · · · · · ·THE WITNESS:· No.
     18· ·BY MR. FREEDMAN
       · · · · Q.· ·Let's do one more, Mr. Nguyen.· Do you recall
     19·
       · ·this allegation in the complaint paragraph 133 where Dr.
     20·
       · ·Wright sends an e-mail to Louis Kleiman, Ira and Dave's
     21·
     22·
       · ·father, saying on February 11, 2014 saying "hello Louis,
       · ·your son Dave and are two of the three key people behind
     23·
       · ·Bitcoin."· Do you recall seeing this allegation in the
     24·
       · ·complaint?
     25·


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     ·1·
       · · · · A.· ·Yes.· I recall some reference to this e-mail.
     ·2·
       · · · · Q.· ·Did you ever ask Dr. Wright about this e-mail?
       · · · · A.· ·I don't know if we discussed this e-mail in
     ·3·
       · ·particular in front of us but he did tell me that he had
     ·4·
       · ·reached out to Dave's father after he learned that Dave
     ·5·
       · ·passed away to tell him that Dave was involved in
     ·6·
       · ·helping him with Bitcoin and that Craig wanted to inform
     ·7·
       · ·Dave's father and his family to save files, hard drives
     ·8·
       · ·or anything upon which data could be stored because he
     ·9·
       · ·felt that they would not know Dave had any involvement
     10·
       · ·in Bitcoin and had mined Bitcoin and that he wanted to
     11·
       · ·inform them to preserve any type of data which could
     12·
       · ·hold the private keys or other information to Dave's
     13·
       · ·Bitcoin because he wanted to be able to help them access
     14·
       · ·Dave's Bitcoin.
     15·
       · · · · · · ·So he did discuss that and I think he did say
     16·
       · ·it was -- he sent an e-mail about it and this looks to
     17·
       · ·be the e-mail.· I don't recall whether I sat with Craig
     18·
       · ·and went over this particular e-mail.
     19·
     20· · · · Q.· ·Did you ask Craig why he didn't expect the
     21· ·Kleiman family to know about Dave's Bitcoin?
     22· · · · A.· ·No, I don't think I asked him.
     23· · · · Q.· ·After you read through the complaint you must
     24· ·have seen the allegations of W&K Info Defense Research?
     25· · · · A.· ·I saw allegations about W&K.· I don't recall


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     ·1· ·the other company you just mentioned.
     ·2· · · · Q.· ·It's one and the same.· The plaintiff's name
     ·3· ·is W&K Info Defense Research, LLC but in shorthand
     ·4· ·referred to as W&K.· It's quite a mouthful.· Do you
     ·5· ·recall asking Dr. Wright about W&K?
     ·6· · · · A.· ·At some point I did.
     ·7· · · · Q.· ·Did you ask him who owned W&K?
     ·8· · · · A.· ·I don't know that I asked that question.
     ·9·
       · · · · Q.· ·Did you ever hear Dr. Wright talk to you about
     10·
       · ·the ownership in W&K?
     11·
       · · · · A.· ·We did discuss it at some point and I don't
     12·
       · ·remember when that was.· I don't recall when but we did
     13·
       · ·discuss.· I said I don't recall when but we did discuss
     14·
       · ·the topic at some point.
     15·
       · · · · Q.· ·And what did he say about it?
     16·
       · · · · A.· ·I don't remember specifics.· I remember asking
     17·
       · ·whether or not Dave was involved in some company with
     18·
       · ·Craig and I don't remember we discussed specific
     19·
       · ·ownership of it but he told me that he and Dave were
     20·
       · ·trying to submit some projects for consideration to the
     21·
       · ·U.S. government I think it was and that's what the
     22·
       · ·purpose of that company was and that I remember him also
     23·
       · ·discussing there was some issue with when Uyen Nguyen
     24·
       · ·doing something which she didn't have authorization to
     25·
       · ·do or did incorrectly with changing I don't know if it


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     ·1·
       · ·was the directors or -- I believe it's an LLC so I don't
     ·2·
       · ·know that it has officers but that she changed something
       · ·or filed something that she was not supposed to do.
     ·3·
       · · · · Q.· ·Did he mention anyone was involved in the
     ·4·
       · ·organization, would that be W&K?
     ·5·
       · · · · A.· ·At that time this is in 2018.· No, eventually
     ·6·
     ·7·
       · ·later he told me that Lynn Wright, his ex-wife, had some
     ·8·
       · ·ownership or membership interest in the company.
     ·9· · · · Q.· ·Did you ask him why he hadn't told you that
     10· ·years earlier?
     11· · · · A.· ·No.
     12· · · · Q.· ·Did you ask him -- strike that.· Did you get
     13· ·more details about what Uyen Nguyen did that was
     14· ·inappropriate for W&K beyond what you just provided me
     15· ·with?
     16· · · · A.· ·I remember him discussing it but I don't
     17· ·remember the exact details.· I remember telling him not
     18· ·to tell his lawyers.
     19· · · · Q.· ·So the e-mail communication we just looked at
     20· ·from Craig to Louis Kleiman occurred in February of
     21· ·2014.· Do you recall that?
     22· · · · A.· ·That's what it says.
     23· · · · Q.· ·I'll represent to you that's what it says.· Do
     24· ·you know why -- did Craig ever explain to you why he
     25· ·waited from Dave's death in April of 2013 almost a year


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     ·1· ·until February of 2014 to reach out to the Kleiman
     ·2· ·estate?
     ·3· · · · · · ·MR. RIVERO:· Object to the form.
     ·4· · · · · · ·THE WITNESS:· No.
     ·5· ·BY MR. FREEDMAN
     ·6· · · · Q.· ·Did you ever ask him why he waited a year to
     ·7· ·reach out to the Kleimans?
     ·8· · · · · · ·MR. RIVERO:· Same objection.
     ·9· · · · · · ·THE WITNESS:· First of all, I don't know that
     10· · · · was his first attempt to reach out to the Kleiman
     11· · · · family after Dave's death or not but no, I do not
     12· · · · remember asking him why he chose what particular
     13· · · · time he chose to reach out to them.
     14· ·BY MR. FREEDMAN
     15· · · · Q.· ·You eventually identified Rivero, Mestre as
     16· ·the law firm that should represent Craig Wright; right?
     17· · · · A.· ·That's correct.
     18· · · · Q.· ·About that same time did you identify a law
     19· ·firm that could represent nChain?
     20· · · · A.· ·I did.
     21· · · · Q.· ·What was the law firm you chose to represent
     22· ·nChain?
     23· · · · A.· ·The law firm I'm trying to remember its name
     24· ·at the time.· It's merged since with Day Pitney,
     25· ·P-I-T-N-E-Y.


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     ·1· · · · Q.· ·Are they an American firm?
     ·2· · · · A.· ·Yes.
     ·3· · · · Q.· ·They have an office in Florida?
     ·4· · · · A.· ·Yes.
     ·5· · · · Q.· ·Did you make initial contact with Rivero,
     ·6· ·Mestre or did Dr. Wright?
     ·7· · · · A.· ·I believe I did.
     ·8· · · · Q.· ·Who did you talk to?
     ·9· · · · A.· ·I believe my first contact was with Andres
     10· ·Rivero.
     11· · · · Q.· ·This was shortly after the lawsuit was filed?
     12· · · · A.· ·I don't remember it was after it was filed or
     13· ·after Craig was served but somewhere in that I think
     14· ·February 2018 timeframe.
     15· · · · Q.· ·Around that time is when you also hired the
     16· ·firm that became Day Pitney to represent nChain?
     17· · · · A.· ·Correct.
     18· · · · Q.· ·What was your initial discussion with
     19· ·Mr. Rivero?
     20· · · · A.· ·I think I sent him the complaint as you would
     21· ·do and asked him to run a conflict check.· Told him the
     22· ·case was about Bitcoin which I knew many lawyers would
     23· ·not particularly -- business litigators would not have
     24· ·experience with yet.· There have not been many
     25· ·significant cases involving Bitcoin or digital currency


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     ·1· ·at that time.
     ·2· · · · · · ·There are more now and that I asked him to
     ·3· ·review the complaint and that it was a dispute that
     ·4· ·involved the creator of Bitcoin, Satoshi Nakamoto, and I
     ·5· ·think that was sort of the extent of the first contact.
     ·6· · · · Q.· ·Did there come a time when -- let me ask this.
     ·7· ·Where did you e-mail Mr. Rivero from, what e-mail
     ·8· ·account?
     ·9· · · · A.· ·At the time it would have been I was using
     10· ·nChain Holdings e-mail account.
     11· · · · Q.· ·Did there come a time when you discussed the
     12· ·finances of the law firm with Mr. Rivero?
     13· · · · A.· ·Sorry, did you --
     14· · · · Q.· ·Did there come a time when you negotiated
     15· ·Mr. Rivero's fee for defending this lawsuit?
     16· · · · A.· ·I don't know that I negotiated a fee.· They
     17· ·told me what their hourly rates were.
     18· · · · Q.· ·Did you ask Craig how he -- well, let me
     19· ·strike that.· Let me take one step.· What were the
     20· ·hourly rates approximate range?
     21· · · · A.· ·I don't recall.
     22· · · · Q.· ·$1,000 an hour?
     23· · · · A.· ·No.
     24· · · · Q.· ·$800 an hour?
     25· · · · A.· ·I don't think so.


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     ·1· · · · Q.· ·$700 an hour?
     ·2· · · · A.· ·It was in the range of litigation hourly
     ·3· ·commercial litigation rates I've seen from my own legal
     ·4· ·career for a good litigation firm in the hundreds of
     ·5· ·dollars an hour depending on the level of seniority of
     ·6· ·the lawyer but I don't think anything certainly don't
     ·7· ·think was $1,000 an hour.· There was you know -- I don't
     ·8· ·remember the range but it was -- it wasn't unusual from
     ·9· ·my experience.
     10· · · · Q.· ·Safe to say that it was going to be an
     11· ·expensive endeavor?
     12· · · · A.· ·Yes, litigation especially if it goes deep
     13· ·into a case and goes to trial it could be very
     14· ·expensive.
     15· · · · Q.· ·And did you ask Dr. Wright how he planned on
     16· ·affording paying for this law firm?
     17· · · · A.· ·I don't think I asked him that question.
     18· · · · Q.· ·Did you flag for him that affording the law
     19· ·firm would be an issue?
     20· · · · A.· ·I think he had took up that question himself
     21· ·as I understand it with counsel.
     22· · · · Q.· ·Did you have involvement in negotiating the
     23· ·ultimate fee and retainer that was paid to Rivero,
     24· ·Mestre?
     25· · · · A.· ·Like I said I don't -- I wouldn't say I


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     ·1· ·negotiated it.· I thought the rates were reasonable and
     ·2· ·they asked for I can't recall if they asked for a
     ·3· ·retainer.· I would think they did but I remember I
     ·4· ·didn't think what was requested was unreasonable so I
     ·5· ·wouldn't say this was any extensive negotiation about
     ·6· ·it.
     ·7· · · · Q.· ·Were you involved in the briefing of motion to
     ·8· ·dismiss?
     ·9· · · · A.· ·I believe they might have sent me a draft.
     10· · · · Q.· ·Did you comment on the draft?
     11· · · · A.· ·A little bit but I don't recall commenting
     12· ·very much.
     13· · · · Q.· ·Did you review Dr. Wright's affidavit where he
     14· ·swore to have absolutely nothing to do with W&K?
     15· · · · A.· ·I don't remember reviewing them.
     16· · · · Q.· ·When he later told you -- strike that.· During
     17· ·your conversations with Craig did he ever discuss the
     18· ·amount of Bitcoin that he held that was at issue you so
     19· ·to speak in the case?
     20· · · · A.· ·Sorry, could you repeat that question?
     21· · · · Q.· ·Sure.· The Kleiman estate was suing for a lot
     22· ·of Bitcoin.· The complaint says it's not clear exactly
     23· ·how much Bitcoin but estimates around 1.1 million
     24· ·Bitcoin.· Did you ever say Dr. Wright, how much Bitcoin
     25· ·is really at issue?


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     ·1· · · · A.· ·No.· I didn't ask that question.
     ·2· · · · Q.· ·Did you ask anything -- did you ask anything
     ·3· ·which facilitated a response from Dr. Wright about the
     ·4· ·amount of Bitcoin that he had under his control?
     ·5· · · · A.· ·I don't believe we discussed anything related
     ·6· ·to the amounts of Bitcoin for quite some time after the
     ·7· ·lawsuit was filed.
     ·8· · · · Q.· ·What did he say when he finally said that?
     ·9· · · · A.· ·I think there was a lot of -- in general it
     10· ·was confusing to me and I think it still is about the
     11· ·amount of Bitcoin but the best understanding I got was
     12· ·that the family trust that Craig had set up holds I
     13· ·believe the number is about 820,000 Bitcoin roughly and
     14· ·that he -- Dave mined Bitcoin separately and that Dave
     15· ·he believed had approximately 300 something thousand
     16· ·Bitcoin that Dave had mined separately and that the
     17· ·dispute was about various schools of Bitcoin.
     18· · · · Q.· ·Did he tell you how he mined the Bitcoin that
     19· ·he claimed were his own?
     20· · · · A.· ·Well, first he was always very clear with me
     21· ·that the Bitcoin was not his own personally; that they
     22· ·were mined by a company of his Wright International
     23· ·Investments and that the company or control of the
     24· ·company was in the family trust.· That's something he
     25· ·repeated very often because it frustrated him when


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     ·1· ·people kept not making the distinction between him and
     ·2· ·his company Wright International Investments.
     ·3· · · · · · ·Then in terms of how he mined he told me
     ·4· ·anecdotal stories over the years.· The fact that he
     ·5· ·bought a lot of computers at the time you could do
     ·6· ·mining -- as opposed to specialized mining.
     ·7· · · · Q.· ·Mr. Nguyen, you're breaking up.· We lost you
     ·8· ·there.
     ·9· · · · A.· ·Shall I start over?
     10· · · · Q.· ·Please.
     11· · · · A.· ·Trying to think.· At some point Craig told me
     12· ·some anecdotal stories of how he was doing mining in the
     13· ·early days.· I know he told me he bought a number of
     14· ·computers and because back then you could mine Bitcoin
     15· ·using more normal computers rather than the specialized
     16· ·mining that sophisticated miners used today.· He had
     17· ·been set up in his home.· I think he also said first
     18· ·mining rigs were set up in kind of like a cow shed in
     19· ·farmland that he had in Australia and that he had to
     20· ·keep the house cool because when you have all of these
     21· ·computing devices it creates a lot of heat.
     22· · · · · · ·Basically he bought a lot of computers plugged
     23· ·them in various places in his home and his cow shed.
     24· ·Kept them running as you need to do Bitcoin mining.· At
     25· ·one point he told me a funny story about getting mad at


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     ·1· ·his children because one time they unplugged some of the
     ·2· ·computing devices he had in the home doing Bitcoin
     ·3· ·mining to recharge their mobile phones as kids are apt
     ·4· ·to do and then he got really angry because they were
     ·5· ·unplugging his Bitcoin mining computers.
     ·6· · · · Q.· ·Did he say when that was, what year that was?
     ·7· · · · A.· ·Well, he told me he started Bitcoin mining
     ·8· ·from the very beginning of Bitcoin block chain because
     ·9· ·at the very beginning there weren't -- there weren't
     10· ·going to be a lot of people running mining on the
     11· ·network.· He needed to be the first one to start it and
     12· ·to try to attract other people to join.· Otherwise
     13· ·launch Bitcoin network and there will be nobody running
     14· ·mining.· He told me this in the very beginning of
     15· ·Bitcoin block chain which had begun in January of 2009.
     16· · · · Q.· ·He made it clear that part of the reason he
     17· ·was mining in the beginning was to keep Bitcoin working
     18· ·so that other people could join and take part in the
     19· ·Bitcoin community and asset?
     20· · · · A.· ·I don't know that he ever said that but he
     21· ·obviously wanted to, you know this was his life's work.
     22· ·He wanted this system to work.· The system requires its
     23· ·whole premise is not to have one person control the
     24· ·network, to have a global network of nodes that all are
     25· ·participating in the processing of transactions on to


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     ·1· ·the network.· So it required to have more people on it
     ·2· ·to run the mining nodes and to be able to even send
     ·3· ·transactions.
     ·4· · · · Q.· ·You previously testified at your last
     ·5· ·deposition Mr. Nguyen that Dr. Wright explained the
     ·6· ·trust to you in the context of this litigation, do you
     ·7· ·recall that testimony?
     ·8· · · · A.· ·Yes.
     ·9· · · · Q.· ·What did he tell you about the trust?
     10· · · · A.· ·That there is more than one or this is where
     11· ·honestly for me there's still a bit of confusion.               I
     12· ·know there's -- there is references to Tulip Trust I and
     13· ·II and I never quite got it clear in my mind whether
     14· ·they were really separate or not.· So we did discuss
     15· ·that and I'll tell you today for me it's still not
     16· ·entirely clear but there is family trust.· He told me
     17· ·that I think the family trust had been set up before
     18· ·even the public launch of Bitcoin in 2009.· That -- what
     19· ·I don't recall is which trust it is in relation to what
     20· ·it's called I guess the Tulip Trust.· That's described
     21· ·in this case.
     22· · · · · · ·He told me that the -- the trust has control
     23· ·of Wright International Investments, that the Bitcoin
     24· ·that was being mined on the computer devices that he
     25· ·used to start Bitcoin network were mining on behalf of


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     ·1· ·Wright International Investments and that now he's also
     ·2· ·told me that he is not the beneficiary of the trust,
     ·3· ·that is his family; his wife and kids.
     ·4· · · · Q.· ·Did he talk to you about where that trust --
     ·5· ·what country that trust was based in?
     ·6· · · · A.· ·This is where I have to be I guess careful
     ·7· ·about which trust we're talking about.· He did tell me
     ·8· ·there was some trust that predated the public launch of
     ·9· ·Bitcoin and I don't know if it's the same trust that's
     10· ·in dispute in this case or not.· He did tell me at some
     11· ·point a trust was set up in The Seychelles,
     12· ·S-E-Y-C-H-E-L-L-E-S.
     13· · · · Q.· ·Did he ever tell you he transferred the
     14· ·Bitcoin into an encrypted file?
     15· · · · A.· ·Not in those words.
     16· · · · Q.· ·What did he say?
     17· · · · A.· ·At some point he told me there was an
     18· ·encrypted file and that the information or data needed
     19· ·to one day access the Bitcoin through private keys was
     20· ·part of the information that was contained in this
     21· ·encrypted file.
     22· · · · Q.· ·Did you ask him how that encrypted file came
     23· ·to be?
     24· · · · A.· ·I don't know that I asked him that.· He told
     25· ·me he -- I believe he said he is the one who made the


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     ·1· ·encrypted file.
     ·1
     ·2·
     ·2 · · · Q.· ·Did he tell you why he made the encrypted
     ·3· ·file?
     ·3
     ·4· · · · A.· ·Yes.
     ·4
     ·5·
     ·5 · · · · Q.· ·Why did he make the encrypted file?
     ·6·
     ·6 · · · · A.· ·Craig's life work as I mentioned was to create
     ·7·
     ·7 · ·Bitcoin.· He wanted it to be an open, honest, digital
     ·8·
     ·8 · ·currency system to improve the world.· To make the
     ·9·
     ·9 · ·monetary system more efficient and because he was an
     10·
     10 · ·auditor in the past he thinks a lot about transparency
     11·
     11 · ·of financial information in particular and he believed
     12·
     12· ·that creating an open, honest ledger system would be
     13·
     13 · ·useful to the world to stop fraud, for example like
     14·
     14 · ·corporate fraud like Enron where people can cheat
     15·
     15 · ·innocent investors because they have two sets of books
     16·
     16 · ·that's harder to do if our financial world and
     17·
     17· ·transactions are recorded on an open public -- like the
     18·
     18 · ·Bitcoin block chain was born to be.· That's why Bitcoin
     19·
     19 · ·white paper uses the word honest I think 15 times across
     20·
     20 · ·the white paper.
     21·
     21 · · · · · · ·Honesty is very important to its philosophy.
     22·
     22· ·So he became very upset and distraught when he found out
     23·
     23 · ·that the first, you know, commercial uses of Bitcoin
     24·
     24 · ·were for dark marketplace, the Silk Road probably the
     25 ·most well known almost an online marketplace where
     25·


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     ·1· ·people could buy, sell anything, drugs and very severe
     ·2· ·harsh drugs like Fentanyl, heroin, could be selling
     ·3· ·services for illegal activity.· Even assassination
     ·4· ·attempts.
     ·5· · · · · · ·So he learned at some point early I don't know
     ·6· ·at what point in time the first -- sometime within the
     ·7· ·first two years of Bitcoin's emergence that people were
     ·8· ·using Bitcoin to buy and sell things on dark
     ·9· ·marketplaces like Silk Road and even in the worst one he
     10· ·told me about Hydra and that upset him tremendously.
     11· · · · · · ·I think he became exceptionally distraught
     12· ·about it to the point where he felt like he had failed.
     13· ·He felt like his vision and purpose for Bitcoin failed
     14· ·because he wanted to create the system to improve the
     15· ·world and instead the first business uses of it were for
     16· ·really bad illegal things including the one thing that
     17· ·bothered him the most was learning that some people were
     18· ·using these marketplaces to try and sell, you know,
     19· ·drugs to children on playgrounds.
     20· · · · · · ·So he wanted to essentially walk away from
     21· ·Bitcoin and so that's what lead I know this is a long
     22· ·story but that's what lead to why he told me he put
     23· ·things into the encrypted file.
     24· · · · Q.· ·So Mr. Nguyen I appreciate you trying to give
     25· ·a full response there.· Took a lot of time there and not


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     ·1· ·sure I got an answer to my question which was simply why
     ·1
     ·2·
     ·2 ·he created the encrypted file.· I understand what he was
     ·3· ·upset with what happened to Bitcoin but why did he
     ·3
     ·4· ·create an encrypted file?
     ·4
     ·5· · · · A.· ·I'm telling you what he told me.· If you put
     ·5
     ·6· ·things in an encrypted file told me why he wanted to
     ·6
     ·7· ·make an encrypted file.· He was prepared to walk away
     ·7
     ·8· ·from Bitcoin.· He was taking work that he did and access
     ·8
     ·9· ·to the information necessary to access the coins to put
     ·9
     10· ·in this encrypted file he have said at one point he
     10
     11· ·didn't even want anything to do with it any more.
     11
     12· · · · Q.· ·Did he tell you how he would be able to regain
     12
     13· ·access to that encrypted file?
     13
     14· · · · A.· ·He told me that he asked Dave Kleiman to help
     14
     15· ·him distribute key shares that were necessary for
     15
     16· ·accessing the encrypted file and distributing them
     16
     17· ·including the people that Craig instructed Dave not to
     17
     18· ·tell him who was holding it.
     18
     19· · · · Q.· ·Did he say when he should be able to get that
     19
     20· ·encrypted file, those key shares back?
     20
     21· · · · A.· ·I think we had to differentiate between key
     21
     22·
     22 ·shares.· This gets confusing and this was part of the
     23· ·conversations I had with Craig to try to understand what
     23
     24· ·key shares we're talking about.· So as I understand it
     24
     25· ·from Craig the encrypted file has an encryption key
     25


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     ·1· ·that's needed to open the file.
     ·2· · · · · · ·Within the file there's more layers so there's
     ·3· ·I think you understand you can open files but that
     ·4· ·doesn't open everything within the encrypted file.· So
     ·5· ·he told me that he took the key, private key that's
     ·6· ·necessary to open at least part of the encrypted file
     ·7· ·and using Shameer Secret Sharing Schemes with the key
     ·8· ·into fragments so not sure he said he did it but it was
     ·9· ·put into fragments so not sure he did it or someone us,
     10· ·Dave Kleiman did it for him but that he asked Dave to
     11· ·help him as his friend and take some of the key slices
     12· ·which are necessary to open the encrypted file and make
     13· ·arrangements for them to be kept safe to have Craig not
     14· ·be told where they are and have measures put in place
     15· ·for them to be returned to not necessarily Craig but to
     16· ·people who could then use it to access the encrypted
     17· ·file.
     18· · · · Q.· ·Did he say when he was supposed to regain this
     19· ·access?
     20· · · · A.· ·Trying to remember if we ever discussed
     21· ·exactly when.· I know at some point we discussed that he
     22· ·believed pieces of -- that were necessary to access at
     23· ·least a layer of the encrypted file should start coming
     24· ·back and he thought late 2019, early 2020.
     25· · · · Q.· ·Did that ever occur?


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     ·1· · · · A.· ·I don't know.· I know he told me that pieces
     ·2· ·of information started coming back.
     ·3· · · · Q.· ·Have you seen a copy of the final Bitcoin list
     ·4· ·that Dr. Wright provided to plaintiffs, the copy of his
     ·5· ·Bitcoin holdings?
     ·6· · · · A.· ·No.
     ·7· · · · Q.· ·Have you talked to him about that list?
     ·8· · · · A.· ·No.
     ·9· · · · Q.· ·Were you involved in filing the Notice of
     10· ·Compliance to the Court?· Do you know what I'm talking
     11· ·about when I say the Notice of Compliance?
     12· · · · A.· ·I think I read there was one filed but no, I
     13· ·was not involved in any of that.
     14· · · · Q.· ·Did you talk to Dr. Wright about that notice
     15· ·of compliance?
     16· · · · A.· ·No.
     17· · · · Q.· ·Have you talked to Rivero, Mestre about that
     18· ·Notice of Compliance?
     19· · · · A.· ·No.
     20· · · · Q.· ·When Dr. Wright was talking to you about the
     21· ·key shares or key slices coming back did he mention the
     22· ·term bonded courier?
     23· · · · A.· ·At some point, yes.
     24· · · · Q.· ·Did you ask him what that meant?
     25· · · · A.· ·Yes, because I have never heard of the phrase


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     ·1· ·before.
     ·2· · · · Q.· ·What did he tell you?
     ·3· · · · A.· ·He said it's a service provider commonly used
     ·4· ·in countries like Australia, United Kingdom where you
     ·5· ·can deposit something it could be a physical thing,
     ·6· ·package, a letter, program, information with the service
     ·7· ·that would hold it in safe and carry out instructions
     ·8· ·for it for example a certain time or when certain
     ·9· ·conditions are met and he told me it was something he
     10· ·used that was commonly used by lawyers for example in
     11· ·other countries and that's why I had not been familiar
     12· ·with this in the United States and some of those other
     13· ·countries.
     14· · · · Q.· ·Did the name Denis Mayaka ever come up when he
     15· ·was discussing bonded courier?
     16· · · · A.· ·Not when he was discussing the bonded courier.
     17· · · · Q.· ·Did you ask him if he knew which company might
     18· ·have been -- strike that.· Did he say that Dave Kleiman
H
     19· ·leveraged the bonded courier mechanism to return to get
     20· ·the key slices back to Dr. Wright?
     21· · · · A.· ·He didn't say that.
     22· · · · Q.· ·What did he say?
     23· · · · A.· ·He said generally that he asked Dave to
     24· ·distribute slices of the keys necessary to access the
     25· ·layer of the encrypted file to multiple places and I


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     ·1· ·asked him well, how would they come back.· And that's
     ·2· ·when he used the example of the bonded courier as one
     ·3· ·mechanism for which key fragments could come back in the
     ·4· ·future then he asked Dave to set up arrangements with
     ·5· ·people that are service providers like a bonded courier
     ·6· ·and asked Dave not to tell him who the arrangements were
     ·7· ·set up with.
     ·8· · · · Q.· ·When is the first time you heard that Dr.
     ·9· ·Wright talk about the hacks?
     10· · · · A.· ·I think I may have heard about that before the
     11· ·lawsuit was filed.
     12· · · · Q.· ·What exactly did he say the hacker did?
     13· · · · A.· ·I don't recall him discussing in detail at the
     14· ·time.· I remember him saying that he's had a number of
     15· ·problems with disgruntled then current or former
     16· ·employees of his Australian companies who would he
     17· ·believed get access to their I.T. systems and change
     18· ·documents or create documents that they discovered later
     19· ·that I remember him saying this, you know, affected or
     20· ·learned about it in the context of some of the battles
     21· ·he had with the Australian Tax Office and I'm trying to
     22· ·remember if he ever told me whether there was any hack
     23· ·attempts from people outside or he didn't have a
     24· ·relationship with the company.· I seem to remember
     25· ·having a conversation about that but I do not remember


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     ·1· ·the specifics.
     ·2· · · · Q.· ·Did he give you any specific examples of
     ·3· ·specific documents that had been hacked?
     ·4· · · · A.· ·Well, I guess I would characterize it this
     ·5· ·way.· I don't think documents were hacked.· I think he
     ·6· ·said his computer systems, his companies had been hacked
     ·7· ·meaning someone accessed them without authorization and
     ·8· ·changed documents, data or added things or created
     ·9· ·things that weren't otherwise supposed to be there.
     10· · · · · · ·I think he mentioned that someone created the
     11· ·e-mails or altered e-mails and some other documents but
     12· ·I don't recall him telling me anything more specific
     13· ·than that.
     14· · · · Q.· ·Did he ever give you examples of which e-mails
     15· ·had been altered?
     16· · · · A.· ·Not that I can recall.
     17· · · · Q.· ·Did you ever see any evidence to corroborate
     18· ·this hacking story beyond Dr. Wright's telling you that
     19· ·it's happened?
     20· · · · A.· ·Did I see any evidence to corroborate it?               I
     21· ·didn't ask for any.
     22·
     22· · · · Q.· ·So you didn't see any evidence to corroborate
     23·
     23 · ·it beyond Dr. Wright's words that it happened?
     24·
     24 · · · · A.· ·No, other than his wife Ramona telling me the
     25·
     25 · ·same thing.


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     ·1· · · · Q.· ·Craig and Ramona, anyone else?
     ·2· · · · A.· ·Not that I can recall.
     ·3· · · · Q.· ·Did you ever ask him why these hackers that
     ·4· ·were disgruntled employees were making changes to
     ·5· ·documents that supported his position in front of the
     ·6· ·Australian Tax Office?
     ·7· · · · A.· ·I don't know that whatever changes were made
     ·8· ·supported his position with the Australian Tax Office.
     ·9· ·I didn't know the details of what was changed or not
     10· ·changed or added or not added.
     11· · · · Q.· ·Did he tell you that the lawyers acting for
     12· ·his Australian companies quit because they couldn't --
     13· ·stopped working for his companies because there were
     14· ·changes done to documents that supported his position to
     15· ·the Australian Tax Office?
     16· · · · A.· ·No.
     17· · · · Q.· ·Did you ever discuss this hack with Rivero,
     18· ·Mestre?
     19· · · · A.· ·I don't think the topic came up.· I don't
     20· ·recall any detailed discussions about it.
     21· · · · Q.· ·Have you ever communicated about in this
     22· ·lawsuit with Ramona Watts?
     23· · · · A.· ·Yes.
     24· · · · Q.· ·What did she say about the lawsuit?
     25· · · · A.· ·We haven't had extensive conversations about


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     ·1· ·it.· Discussed the fact that, you know, it's happening
     ·2· ·and that it's taking up significant amounts of time.
     ·3· ·Discussed things such as how it affects scheduling for
     ·4· ·events or business trips Craig needs to do and
     ·5· ·scheduling their family needs to do.· She's also
     ·6· ·discussed with me she thinks the lawsuit is unfounded
     ·7· ·and that she thinks the lawsuit does not have any merit.
     ·8· · · · Q.· ·Were you at the hearing where Judge Reinhart
     ·9· ·issued his sanctions order?
     10· · · · A.· ·I was at the hearing, an evidentiary hearing.
     11· ·I don't think I was at a hearing where an order was
     12· ·issued.
     13· · · · Q.· ·Did you review the -- strike that.· Are you
     14· ·aware that in Judge Reinhart's order which was
     15· ·affirmed -- his factual findings were affirmed by Judge
     16· ·Bloom he found that and I quote "I completely reject Dr.
     17· ·Wright's testimony about the alleged Tulip Trust, the
     18· ·alleged encrypted file and his alleged inability to
     19· ·identify his Bitcoin holdings?"
     20· · · · A.· ·What is the question?
     21· · · · Q.· ·Do you recall reading that or hearing about
     22· ·that finding of Judge Reinhart?
     23· · · · A.· ·I do.
     24· · · · Q.· ·Did you have a discussion with Dr. Wright or
     25· ·Rivero, Mestre or both about those findings?


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     ·1· · · · A.· ·No.
     ·2· · · · Q.· ·Do you recall hearing or reading that Judge
     ·3· ·Reinhart found Dr. Wright's story about bonded courier
     ·4· ·and trusts being and I quote inconceivable?
     ·5· · · · A.· ·I did read that.
     ·6· · · · Q.· ·Did you ever discuss that with Dr. Wright?
     ·7· · · · A.· ·I didn't discuss with Dr. Wright specific
     ·8· ·statements or findings in Magistrate Judge Reinhart's
     ·9· ·order.
     10· · · · Q.· ·Did you discuss them with Rivero, Mestre?
     11· · · · A.· ·No.· We discussed generally the order had come
     12· ·down and that Craig and his lawyers disagreed with it
     13· ·but I don't recall discussing specifics of the order.
     14· · · · Q.· ·Did you ever discuss the fact that Judge
     15· ·Reinhart found or just simply the fact that there was
     16· ·credible and conclusive evidence at the hearing that Dr.
     17· ·Wright did not control Tulip Trading Ltd. until 2014?
     18· · · · A.· ·Did I discuss that with who?
     19· · · · Q.· ·With Dr. Wright.
     20· · · · A.· ·No.
     21· · · · Q.· ·Did you ever discuss it with Rivero, Mestre?
     22· · · · A.· ·I don't think so.· Like I said I don't recall
     23· ·discussing any specific portions or statements from the
     24· ·order.
     25· · · · Q.· ·Did you ever see the evidence presented at the


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     ·1· ·hearing which shows Dr. Wright purchasing a shell
     ·2· ·company from Denis Mayaka in 2014 called Tulip Trading,
     ·3· ·Ltd?
     ·4· · · · A.· ·Sorry, what is your question about that?
     ·5· · · · Q.· ·Have you ever seen the e-mail communication
     ·6· ·showing Dr. Wright purchasing Tulip Trading in 2014?
     ·7· · · · A.· ·I don't recall whether I did or not.
     ·8· · · · · · ·MR. RIVERO:· Excuse me one moment, apparently
     ·9· · · · I was on mute and so I objected to questions at
     10· · · · lines 21 I believe and 24.· I apologize.
     11· ·BY MR. FREEDMAN
     12· · · · Q.· ·Did you ever have discussion with Dr. Wright
     13· ·about why -- did you ever have a discussion with Dr.
     14· ·Wright about how a company he didn't own until 2014 was
     15· ·a beneficiary of a trust document he signed in 2012?
     16· · · · A.· ·I don't think I did.· I know there was -- that
     17· ·was an issue that came up but I don't recall whether I
     18· ·had any specific conversation with him about it.
     19· · · · Q.· ·Did you ever Craig for details on how he knew
     20· ·Dave Kleiman had mined Bitcoin?
     21· · · · A.· ·He told me that he wanted Dave to mine Bitcoin
     22· ·separately so that Dave would be unnamed and having his
     23· ·own Bitcoin.· Just like Craig was doing with his company
     24· ·and told me that I think he said he helped Dave get set
     25· ·up for mining because he wanted Dave to have his own


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     ·1· ·mining.
     ·2· · · · Q.· ·Did he say how he helped Dave get set up for
     ·3· ·mining?
     ·4· · · · A.· ·I don't remember if he went into detail about
     ·5· ·it.· I have a memory of him talking about telling him
     ·6· ·what kind of computers he should get.· How to set up the
     ·7· ·Bitcoin client software.· That type of general memory of
     ·8· ·that.· Beyond that I don't remember any more.
     ·9· · · · Q.· ·Did he say he gave Dave any money to mine
     10· ·Bitcoin?
     11· · · · A.· ·No, I don't think so.· I don't recall him ever
     12· ·saying that.
     13· · · · Q.· ·Did he ever say that Dave helped him with his
     14· ·mining operation?
     15· · · · A.· ·No.
     16· · · · Q.· ·I think you recall at your last deposition we
     17· ·saw an interview with Craig had said that his computers
     18· ·were all crashing and Dave had remoted in to help him.
     19· ·Do you recall that?
     20· · · · A.· ·Yes.· Some vague recollection of that.
     21· · · · Q.· ·Do you recall him ever talking about that
     22· ·outside of that interview?
     23· · · · A.· ·No.
     24· · · · Q.· ·Did you ever ask Dr. Wright about what the New
     25· ·South Wales lawsuits he filed against W&K?


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     ·1· · · · A.· ·I'm sorry, could you repeat that?
     ·2· · · · Q.· ·Sure.· Did you ever ask Dr. Wright about the
     ·3· ·New South Wales lawsuits that he filed in Australia
     ·4· ·against W&K?
     ·5· · · · A.· ·I know there was some lawsuit in Australia
     ·6· ·related to W&K.· I don't recall whether they were in New
     ·7· ·South Wales.
     ·8· · · · Q.· ·Did you ever ask him about those lawsuits?
     ·9· · · · A.· ·We had I think a conversation about them at
     10· ·some point about what they were about.
     11· · · · Q.· ·What did he say?
     12· · · · A.· ·You know, I don't remember the specifics of
     13· ·it.· I remember him saying something about the issues in
     14· ·the Florida case had already been decided somehow by a
     15· ·case in Australia and there was already a judgment about
     16· ·it and that Florida therefore wasn't the proper place to
     17· ·litigated those issues.
     18· · · · Q.· ·Did you read the allegations in the complaint
     19· ·that W&K had not been served with process in those
     20· ·cases?
     21· · · · A.· ·I don't recall.· I read the complaint.               I
     22· ·don't remember that particular set of allegations.
     23· · · · Q.· ·Did you ever ask Dr. Wright why he did not
     24· ·serve W&K in those proceedings?
     25· · · · · · ·MR. RIVERO:· Object to the form.


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     ·1· · · · · · ·THE WITNESS:· No.· Because I don't know that
     ·2· · · · he failed to serve W&K in those proceedings.
     ·3· ·BY MR. FREEDMAN
     ·4· · · · Q.· ·Did you ask him if he did serve W&K in those
     ·5· ·proceedings?
     ·6· · · · A.· ·No, I don't think we discussed it.
     ·7· · · · Q.· ·Did you ask why he listed his Australian
     ·8· ·address as the address for service for W&K in those
     ·9· ·Australian proceedings?
     10· · · · · · ·MR. RIVERO:· Object to the form.
     11· · · · · · ·THE WITNESS:· No, I didn't ask him that
     12· · · · because I did not -- don't know whether that's true
     13· · · · or not.
     14· ·BY MR. FREEDMAN
     15· · · · Q.· ·Did you ask why he listed himself as the
     16· ·Australian director of W&K?
     17· · · · · · ·MR. RIVERO:· Objection.
     18· · · · · · ·THE WITNESS:· I didn't ask him that.
     19· ·BY MR. FREEDMAN
     20· · · · Q.· ·Did you ask him whether the W&K proceedings
     21· ·had resulted in a judgment on the merits or simply a
     22· ·consent judgment?
     23· · · · A.· ·I did not ask him that.
     24· · · · Q.· ·Did you ever have that kind of discussion with
     25· ·him?


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         ·1· · · · A.· ·Not that I can recall.· I just know that he
         ·2· ·said there was a judgment.
         ·3· · · · Q.· ·Did you ever see an article from Brendan
         ·4· ·Sullivan a reporter with Modern Consensus recounting a
         ·5· ·transcript of an interview he did with Craig right after
         ·6· ·Judge Reinhart entered the sanctions order?
         ·7· · · · A.· ·I don't know if I saw the article.· I had
         ·8· ·heard there was one.
         ·9· · · · Q.· ·In it Dr. Wright is quoted as saying that he
         10· ·could have and I quote "have tanked the market any time
         11· ·in the last ten years and ran away laughing" end quote.
         12· ·Do you recall that quote from Dr. Wright?
         13· · · · A.· ·Like I said I don't recall whether I actually
         14· ·read Brendan Sullivan's article so I don't recall that
         15· ·statement.
         16· · · · Q.· ·Did you ever ask Dr. Wright why he thought he
         17· ·could have tanked the market any time in the last ten
         18· ·years?
         19· · · · A.· ·Well, I didn't ask him that question because I
         20· ·was not aware of a statement like that or that he made
         21· ·it.
         22· · · · Q.· ·Do you ever recall Dr. Wright saying that he
H-R-UP
         23· ·has
             ·has more money than Rwanda?
         24· · · · A.· ·I think he said "your country."· I can recall
         25· ·that
             ·that statement.


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           ·1· · · · Q.· ·He did say "your country" right.· He was
           ·2· ·talking
                talking about Rwanda; correct?
                t
H-S-R-UP

           ·3· · · · A.· ·I don't know for sure but likely.
           ·4· · · · Q.· ·He was talking about a nation; correct?
           ·5· · · · A.· ·We were in Rwanda when he made it.· I'm making
           ·6· ·an
                an assumption that's what he was referring to.
           ·7· · · · Q.· ·Did you ever ask him what he meant by "I have
           ·8· ·more money than your country?"
           ·9· · · · A.· ·No.
           10· · · · Q.· ·How did you understand that statement?
           11· · · · A.· ·Well, I think I -- Craig sometimes can get
           12· ·upset when he is in public and speaking in public and
           13· ·get frustrated and go off topic on which he was trying
           14· ·to speak so I was at the moment a little more frustrated
           15· ·he wasn't talking about the topic we had planned for him
           16· ·to speak on than statement he made about having more
           17· ·money than a country.
           18· · · · Q.· ·You were there with him so did anybody come
           19· ·over after and ask him about that comment?
           20· · · · A.· ·Not that I heard.
           21· · · · Q.· ·Did -- have you ever come to see what we've
           22· ·referred to in lawsuit as Tulip Trust III that is a
           23· ·trust agreement dated July of 2017?
           24· · · · A.· ·I don't think so.
           25· · · · Q.· ·Have you ever asked Craig about that Tulip


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           ·1· ·Trust III?
           ·2· · · · A.· ·No.
           ·3· · · · Q.· ·Craig ever mention to you a Tulip Trust
H
           ·4· ·executed
               ·executed in 2017 that revoked all prior trusts?
           ·5· · · · A.· ·I don't know.· I don't think so.
           ·6· · · · Q.· ·So there was a time when you were talking with
L-H        ·7· ·Dr.
               ·Dr. Wright to help him prepare for this litigation and
           ·8· ·he
               ·he told you about Tulip Trust I and Tulip Trust II;
           ·9· ·right?
               ·right?
           10· · · · A.· ·Not that he told me about Tulip Trust I and
           11· ·II.·
                II.· I think we talked about the fact that there was a
                I
           12· ·family
                family trust or trusts.· I'm trying to understand what
                f
           13· ·the
                the difference was and one he said predated even his
                t
           14· ·creation
                creation of Bitcoin and then -- I don't even know that
                c
           15· ·had
                had a particular name and then in the course of my
                h

 H
           16· ·trying
                trying to help him and his lawyers with litigation and
                t
           17· ·the
                the complaint I saw some of the trust documents but it's
                t
           18· ·not
                not as if he sat down and explained here is Tulip Trust
                n
           19· ·I
                I and Tulip Trust II.
           20· · · · Q.· ·So did you see -- would a Tulip Trust III from
                                                                       m

 S         21· ·2017
                2017 that revoked all prior instances of the Tulip Trust
                                                                       t
           22· ·be
                be consistent be what he told you then?
           23· · · · A.· ·I guess I hadn't seen this other document
           24· ·you're
                you're talking about what it says so I'm just -- hard
           25· ·for
                for me to answer the question.


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     ·1· · · · Q.· ·Have you seen any Tulip Trust documents?
     ·2· · · · A.· ·I have seen documents with the reference Tulip
 R   ·3· ·Trust
         ·Trust on them, yes.· If you're asking me about this 2017
     ·4· ·document
         ·document I'm not sure I've seen it.
     ·5· · · · Q.· ·Have you seen a document with the big picture
     ·6· ·of
         ·of a tulip across the front of it?
     ·7· · · · A.· ·Big picture of a tulip, I don't think so.
     ·8· · · · Q.· ·Did you ever ask Dr. Wright why there are bit
     ·9· ·messages between him and Dave Kleiman that predate the
     10· ·existence of bit messages themselves?
     11· · · · A.· ·I did not ask him that.· He explained at one
     12· ·point that the bit message was available earlier than
     13· ·people thought.
     14· · · · Q.· ·Earlier than the creator himself thought?
     15· · · · A.· ·I don't know that he used those words
     16· ·available earlier.· In some form than people believed.
     17· · · · Q.· ·Did you ask Dr. Wright -- sorry, did you ever
     18· ·ask Dr. Wright why he holds the private key to the bit
     19· ·message account he claimed belonged to Dave Kleiman and
     20· ·when I say he let me rephrase that.· Did -- did you ever
     21· ·know prior to me now telling you that Dr. Wright holds
     22· ·the private key to the bit message address he claims is
     23· ·Dave Kleiman's bit message address?
     24· · · · A.· ·No, I never discussed that with him.
     25· · · · Q.· ·Did you ever discuss with Dr. Wright that he


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           ·1· ·holds the private key to the bit message address he
           ·2· ·claims belongs to High Secure?
           ·3· · · · A.· ·No.· I have not discussed that.
           ·4· · · · Q.· ·Did you ever ask Dr. Wright what Dave Kleiman
           ·5· ·did with all of his Bitcoin?
           ·6· · · · A.· ·No, I didn't ask about that.
           ·7· · · · Q.· ·Did he ever tell you what he did with all his
           ·8· ·Bitcoin?
           ·9· · · · A.· ·Well, I don't think we ever discussed what
           10· ·Dave did with all his Bitcoin.· I think Craig did
           11· ·explain to me that he believed that Dave kept the data
           12· ·necessary to access Dave's Bitcoin on some kind of
           13· ·drives whether it was a thumb drive that Dave always
           14· ·kept close to him or wearing on him and other hard
           15· ·drives or somewhere in his home and that's -- we did
           16· ·discuss that but what Dave actually did with his Bitcoin
           17· ·meaning did he spend it, use it, send it that we never
           18· ·discussed.
           19· · · · · · ·MR. FREEDMAN:· I'm going to share with you
           20· · · · what I believe is Exhibit 3.· This is a copy of the
H-F

           21· · · · Tulip Trust III we were referencing before.· Have
           22· · · · you ever seen this document?
           23· · · · · · ·THE WITNESS:·
                              WITNESS: No.
           24· · · · · · ·(Plaintiff's Exhibit No. 3 was
           25· · · · · · ·marked for identification.)


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     ·1· ·BY MR. FREEDMAN
     ·2· · · · Q.· ·In your declaration you testified that you had
     ·3· ·engaged in privileged and confidential communications
     ·4· ·with Mr. Ayre and Mr. Tarter regarding the litigation in
     ·5· ·connection with Mr. Ayre's role at Litigation -- do you
     ·6· ·recall that?
     ·7· · · · A.· ·Yes.
     ·8· · · · Q.· ·What were those -- what were the contents of
     ·9· ·those communications?
     10· · · · A.· ·Well, in general I guess we'll start with
     11· ·Mr. Ayre.· He --
     12· · · · Q.· ·Just clarify not about the discussions you
     13· ·already told me about with Mr. Ayre.· I don't need you
     14· ·to repeat that obviously.
     15· · · · A.· ·Okay.· In general he would ask me periodically
     16· ·about the status in the case.· You know, what's going on
     17· ·and the main conversation I had with him on several
     18· ·times were about the fact that, you know, the case is
     19· ·premised on Craig actually being the creator of Bitcoin
     20· ·and that both the Kleiman estate and Craig agree on that
     21· ·and that should show the outside world that Craig really
     22· ·is Satoshi.· That's the thing I would say I discussed
     23· ·most often with Calvin Ayre.
     24· · · · Q.· ·Would the same go for Mr. Tarter?
     25· · · · A.· ·No.


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     ·1· · · · Q.· ·What were the discussions you had with
     ·2· ·Mr. Tarter?
     ·3· · · · A.· ·I think I only started discussing the lawsuit
     ·4· ·with Ron Tarter in the context of the mediation and
     ·5· ·settlement conversations happening in 2019.
     ·6· · · · Q.· ·Are you aware that Dr. Wright claims to be
     ·7· ·autistic in this litigation?
     ·8· · · · A.· ·Well, he claims to be autistic in general, not
     ·9· ·just in the context of this litigation.· He is on the
     10· ·spectrum of autism.
     11· · · · Q.· ·Are you aware that he has submitted an expert
     12· ·report from Dr. Amy Glinn stating that he is indeed on
     13· ·the spectrum?
     14· · · · A.· ·I'm aware there is an expert about that.· I'm
     15· ·not aware of the report.
     16· · · · Q.· ·Did you ever talk to Dr. Glinn?
     17· · · · A.· ·No.
     18· · · · Q.· ·Were you involved in decisions to submit an
     19· ·expert report for autism spectrum disorder?
     20· · · · A.· ·No.
     21· · · · Q.· ·Did you discuss your subpoena with Rivero,
     22· ·Mestre, the original subpoena you received?
     23· · · · A.· ·No, I don't think so.
     24· · · · Q.· ·You previously told me that they were the ones
     25· ·that let you know you were being subpoenaed.· Do you


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     ·1· ·recall that?
     ·2· · · · A.· ·I guess it would depend what you mean did we
     ·3· ·discuss the subpoena.· At some point I had a discussion
     ·4· ·with one of the Rivero, Mestre lawyers about the
     ·5· ·deposition.
     ·6· · · · Q.· ·What did they say?
     ·7· · · · A.· ·This was -- it was a general conversation
     ·8· ·about what kinds of topics might come up in the
     ·9· ·deposition.
     10· · · · Q.· ·Did Rivero, Mestre advise you not to avoid
     11· ·service of process in this case?
     12· · · · · · ·MR. SILVERGLATE:· Objection to the form.
     13· ·BY MR. FREEDMAN
     14· · · · Q.· ·Let me change the question.· Did Rivero,
     15· ·Mestre advise you to avoid service of process in this
     16· ·case?
     17· · · · · · ·MR. SILVERGLATE:· Object to the form.
     18· · · · · · ·THE WITNESS:· Not at all.
     19· ·BY MR. FREEDMAN
     20· · · · Q.· ·Did Rivero, Mestre let you know that we were
     21· ·seeking to serve you?
     22· · · · A.· ·No.· I think Andres Rivero at one point just
     23· ·said let me know if you're served.
     24· · · · Q.· ·In your declaration you said that you helped
     25· ·Dr. Wright's counsel interpret for him.· Do you recall


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     ·1· ·that?
     ·2· · · · A.· ·Yes.
     ·3· · · · Q.· ·Can you give me examples of what you
     ·4· ·interpreted for Rivero, Mestre?
     ·5· · · · A.· ·Well, especially when we started talking about
     ·6· ·Bitcoin how it worked that whole topic of breaking up
     ·7· ·key slices for example with this encrypted file
     ·8· ·explaining Bitcoin addresses.· The Rivero, Mestre
     ·9· ·lawyers at one point contacted me and said we need your
     10· ·help because we're having a difficult time communicating
     11· ·with Craig about this, he is getting frustrated and you
     12· ·seem to understand this.· Can you get more involved to
     13· ·help.· I had already been involved more in the
     14· ·background but they asked me to help explain to them and
     15· ·to participate in the communications with Craig to make
     16· ·it easier for him to communicate with them to explain
     17· ·these issues about the key slices, why he did not keep a
     18· ·list of Bitcoin public addresses, those kinds of topics.
     19· · · · Q.· ·What did he say about why he did not keep a
     20· ·list of his Bitcoin public addresses?
     21· · · · A.· ·Because it was not necessary at the time in
     22· ·early in Bitcoin's life and that's not how the Bitcoin
     23· ·system worked at the time.
     24· · · · Q.· ·Do you recall a time when Judge Reinhart
     25· ·ordered Craig to produce all of the trust documents


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     ·1· ·related to the Tulip Trust?
     ·2· · · · A.· ·No.
     ·3· · · · Q.· ·Do you recall a time when Craig moved for
     ·4· ·judgment on the pleadings claiming that there lacked
     ·5· ·diversity jurisdiction in the case?· Do you know what
     ·6· ·that word means, diversity jurisdiction?
     ·7· · · · A.· ·Yes.· I don't know if it was framed as a
     ·8· ·motion for judgment on the pleadings.· I remember there
     ·9· ·was a motion to dismiss early in the case on various
     10· ·grounds including some lack of jurisdiction grounds.
     11· · · · Q.· ·Do you recall that after that motion was
     12· ·submitted the cryptocurrency community exposed one of
     13· ·the exhibits as a forgery based on a hidden time stamp
     14· ·in one of the documents?
     15· · · · · · ·MR. RIVERO:· Object to the form.
     16· · · · · · ·THE WITNESS:· I wouldn't accept the premise of
     17· · · · your question that the cryptocurrency community
     18· · · · established the document as forged.
     19· ·BY MR. FREEDMAN
     20· · · · Q.· ·Do you recall that Rivero, Mestre withdrew the
     21· ·exhibit after this occurred?
     22· · · · A.· ·I don't recall that.
     23· · · · Q.· ·Do you recall the incident regardless of
     24· ·whether you agree with my conclusion?
     25· · · · A.· ·I don't recall that specific incident you're


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     ·1· ·referring to.· I know there have been some general
     ·2· ·online discussions or coverage with people, you know,
     ·3· ·questioning the validity of some document that -- I said
     ·4· ·I recall there have been online commentary and coverage
     ·5· ·about questions raised about the validity of some
     ·6· ·documents produced in the case.
     ·7· · · · Q.· ·Have you discussed with Rivero, Mestre
     ·8· ·allegations that Dr. Wright has submitted forged
     ·9· ·evidence in this case?
     10· · · · A.· ·I don't recall that.· I mean the topic
     11· ·generally has come up that he's being questioned about
     12· ·the validity of documents and that they would need to be
     13· ·able to explain that, you know, to the Court and at
     14· ·trial.
     15· · · · Q.· ·How were they intending to explain that to the
     16· ·Court and at trial?
     17· · · · A.· ·We discussed that.· We discussed -- they would
     18· ·need to talk to Craig and try to figure out what
     19· ·happened.
     20· · · · Q.· ·Do you recall Judge Bloom denying that motion
     21· ·for judgment on the pleadings and quoting the poet
     22· ·Marman saying "oh, what lead to believe what first we
     23· ·practice to deceive?"
     24· · · · A.· ·I read Judge Bloom's order but I don't
     25· ·remember that quote.


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            ·1· · · · Q.· ·Did you ever have a discussion with Craig
            ·2· ·about the fact that now both judges in the case have
            ·3· ·found him to have misrepresented facts and evidence?
            ·4· · · · A.· ·No, I did not have discussion with Craig about
            ·5· ·that.
            ·6· · · · Q.· ·Were you involved in the preparation of
            ·7· ·Dr.
                 Dr. Wright's May 8th and May 13th declarations that were
                 D
            ·8· ·submitted
                 submitted in the litigation?
                 s
            ·9· · · · A.· ·What year?
            10· · · · Q.· ·2019.
            11· · · · A.· ·Possibly.· I would have to see them.
            12· · · · Q.· ·These were the declarations that were

PK-F        13· ·submitted
                 submitted in the course of this evidentiary hearing on
                 s
            14· ·our
                 our motion to compel production of the Bitcoin list.
                 o
            15· · · · A.· ·I was involved in reviewing with his lawyers
            16· ·and
                 and him declarations around that period of time.· If
                 a
            17· ·those
                 those are the ones I know he submitted multiple
                 t
            18· ·declarations.·
                 declarations.· I have not been involved in every
                 d
            19· ·declaration
                 declaration he submitted so I would have to see them.
                 d
            20· · · · Q.· ·Have you investigated to disprove or
            21· ·corroborate the allegations that Dr. Wright has
            22· ·submitted forged evidence in this proceeding?
            23· · · · A.· ·No.
            24· · · · Q.· ·Did you ever discuss retaining a forensic
            25· ·expert to assess the authenticity of documents at issue


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     ·1· ·in this proceeding?
     ·2· · · · A.· ·I don't know if I ever discussed that.               I
     ·3· ·don't remember the topic came up but I don't remember
     ·4· ·discussing it specifically.
     ·5· · · · Q.· ·Are you aware that -- you are aware that Dr.
     ·6· ·Wright eventually submitted a list of what he claimed to
     ·7· ·be his Bitcoin holdings; correct?
     ·8· · · · A.· ·I learned at some point he had submitted that
     ·9· ·to the Court.
     10· · · · Q.· ·Did you ever discuss that list with him in any
     11· ·way?
     12· · · · A.· ·No.
     13· · · · Q.· ·Would it surprise you to learn that four of
     14· ·the addresses on the list have been spent so four of the
     15· ·block rewards on the coin base transactions identified
     16· ·as Dr. Wright's unlocked in trust have been spent in
     17· ·2019 and 2020?
     18· · · · A.· ·I don't know whether that's true or not so I
     19· ·can't really comment on it.· I have not seen the list or
     20· ·whether any coins were spent or not.
     21· · · · Q.· ·I'll represent to you it's true and so now I
     22· ·would like your reaction to it.· How would that be
     23· ·possible given your understanding of Dr. Wright's trust
     24· ·structure and encrypted file?
     25· · · · · · ·MR. RIVERO:· Object to the form.


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     ·1· · · · · · ·THE WITNESS:· I don't know.· I don't have a
     ·2· · · · basis to answer that.
     ·3· ·BY MR. FREEDMAN
     ·4· · · · Q.· ·You don't know how it would be possible for
     ·5· ·those four addresses to have been spent?
     ·6· · · · · · ·MR. RIVERO:· Object to the form.
     ·7· · · · · · ·THE WITNESS:· I don't know how it would be
     ·8· · · · possible or not possible.
     ·9· ·BY MR. FREEDMAN
     10· · · · Q.· ·Are you aware that yesterday morning somebody
     11· ·took 145 of the addresses that appear on the list and
     12· ·signed a message saying in sum or substance Craig
     13· ·Stephen Wright is a fraud and does not control the
     14· ·private keys to the addresses?
     15· · · · A.· ·Not aware of that.
     16· · · · Q.· ·Do you have any idea given the trust structure
     17· ·that Dr. Wright has explained to you how it would be
     18· ·possible for someone to sign 145 -- sign with private
     19· ·keys to 145 of the addresses on his list that he is a
     20· ·fraud and that he does not control the private keys?
     21· · · · A.· ·I mean I could, you know, speculate.· I don't
     22· ·have a specific basis.
     23· · · · Q.· ·Please speculate for me how could someone have
     24· ·done that?
     25· · · · · · ·MR. SILVERGLATE:· Object to the form.


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          ·1· · · · · · ·MR. RIVERO:· Object to the form.
          ·2· · · · · · ·THE WITNESS:· Well, this relates to an issue
          ·3· · · · Craig has been vocal about in his public commentary
          ·4· · · · speeches which is that people think control of
          ·5· · · · private keys is the same as ownership of Bitcoin
          ·6· · · · but he's been very vocal about trying to state that
          ·7· · · · even if you have access to the private keys for
          ·8· · · · Bitcoin or you hold the private keys to Bitcoin
          ·9· · · · that does not mean -- doesn't prove you're the
          10· · · · owner.· It doesn't prove for example in his case
          11· · · · whether or not he is the creator of Bitcoin, a lot
          12· · · · of people in the Bitcoin want him to sign or do
          13· · · · something with private keys in the early Bitcoin
          14· · · · blocks.
          15· · · · · · ·He resisted that because he is trying to make
          16· · · · the point that control of keys does not necessarily
          17· · · · make you the owner of the coins or in this case
          18· · · · trust.
          19· · · · · · ·So, you know, I don't know what happened but
          20· · · · it's possible someone else somehow has access to
          21· · · · some private keys that they should not have.
          22· ·BY MR. FREEDMAN
          23· · · · Q.· ·Did Dr. Wright ever tell you he shared the
H-PK-R
          24· ·private
               private keys of some of his Bitcoin with someone else?
          25· · · · A.· ·No, he did not.


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         ·1· · · · Q.· ·Did he ever tell you he did not share the
         ·2· ·private keys of the Bitcoin with someone else?
         ·3· · · · A.· ·No, he did not tell me either way.· The point
         ·4· ·I'm making is it's like if I had keys to your house.· It
         ·5· ·doesn't mean I own your house or control your house or
         ·6· ·at least lawfully should.· I may have gotten the keys
         ·7· ·through any manner of ways, I stole them, you lent them
         ·8· ·to me, someone made a copy and gave them to me.
         ·9· · · · · · ·There's a whole variety of scenarios that
         10· ·could be possible.· The point being use of, control of
         11· ·private keys does not necessarily mean the same thing as
         12· ·legal ownership or custody of the Bitcoin or trust
         13· ·assets.
         14· · · · Q.· ·Did you ever ask Dr. Wright if he has
         15· ·received
             ·received -- strike that.· Was it your understanding that
         16· ·Dr.
             ·Dr. Wright had seven of the eight key slices necessary
         17· ·to
             ·to open the encrypted file?
         18· · · · A.· ·I don't know that he had them.· I think among
         19· ·people
             ·people he knew I had access to.· I believe he would be
R-H-PK   20· ·able
             ·able to -- had access to seven of the key slices to open
         21· ·and
             ·and I really need to specify this.· Not the entire
         22· ·encrypted
             ·encrypted file but a layer or portion of it.
         23· · · · Q.· ·Do you know if that final key slice has been
         24· ·returned
             ·returned to Dr. Wright?
         25· · · · A.· ·I do not.


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           ·1· · · · Q.· ·Have you asked him if it's been returned to
 H-R
           ·2· ·him?
               ·him?
           ·3· · · · A.· ·No.
           ·4· · · · Q.· ·Are you aware of the specifics of the
H-PK-R-F
           ·5· ·arrangement
                arrangement between Dr. Wright and Calvin Ayre for
           ·6· ·financing
                financing this litigation?
           ·7· · · · A.· ·No.· I testified last time I know that there
           ·8· ·is
                is some kind of funding arrangement between the two of
           ·9· ·them
                them but I'm not involved in the specifics of it.
           10· · · · Q.· ·Going back to the encrypted file did Dr.
           11· ·Wright tell you if the private keys to his Bitcoin were
           12· ·in blocks in that encrypted file?
           13· · · · A.· ·No.
           14· · · · Q.· ·So he has the encrypted key -- the -- sorry,
           15· ·strike that.· The private keys to his Bitcoin are not in
           16· ·that encrypted file?
           17· · · · A.· ·It's not the private keys that I understand
           18· ·are in the encrypted file.· It's data that is needed to
           19· ·be able to essentially to generate them.
           20· · · · Q.· ·Have you ever seen a family law agreement

 R         21· ·between
               ·        Lynn Wright and Dr. Wright?
           22· · · · A.· ·No.
           23· · · · Q.· ·Have you ever seen an operating agreement for
                                                                      r
           24· ·W&K
               ·    that was signed by allegedly Dave Kleiman and Dr.
           25· ·Wright?
               ·


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     ·1· · · · A.· ·I don't think so.
     ·2· · · · Q.· ·Did you ever ask Dr. Wright whether Dave and
     ·3· ·he collaborated on the creation of intellectual
     ·4· ·property?
     ·5· · · · A.· ·I don't think I asked him.
     ·6· · · · Q.· ·Did you ever -- did Dr. Wright ever talk to
     ·7· ·you about his work with Dave Kleiman on whether they
     ·8· ·created any intellectual property?
     ·9· · · · A.· ·Well, he told me that -- he never told me they
     10· ·create any intellectual property together.· He told me
     11· ·that he helped him in the beginning with, you know,
     12· ·various things related to Bitcoin.· That they -- I think
     13· ·they had some other project they wanted to work on
     14· ·together something related with submitting something to
     15· ·the U.S. government.· And that they in memory of his
     16· ·proposal that had been prepared for that I don't recall
     17· ·there was created any intellectual property together.
     18· · · · Q.· ·Did Dr. Wright ever told you he held back up
     19· ·files for Dave Kleiman?
     20· · · · A.· ·That he held I'm sorry, what?
     21·
       · · · · Q.· ·Back up files for Dave Kleiman.
     22·
       · · · · A.· ·I don't recall.· I have a memory of some
     23·
       · ·discussion of back up files but I don't know whose back
       · ·up files.
     24·
       · · · · Q.· ·Do you remember about when or the
     25·


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     ·1· ·circumstances of how that conversation occurred?
     ·2· · · · A.· ·No.
     ·3· · · · Q.· ·Have you ever discussed Ira Kleiman with Craig
     ·4· ·Wright?
     ·5· · · · A.· ·Yes.
     ·6· · · · Q.· ·What did Dr. Wright say about Ira Kleiman?
     ·7· · · · A.· ·Well, he has told me that he believes Ira
     ·8· ·Kleiman is making an unjustified claim in this lawsuit
     ·9· ·and that there was no partnership between Dave and Craig
     10· ·and that he thinks Ira is trying to just get money he
     11· ·does not deserve.
     12· · · · Q.· ·Did you ever ask why Dr. Wright maintains Dave
     13· ·Kleiman was not his partner when he referred to him as
     14· ·his partner so many times in the past?
     15· · · · · · ·MR. SILVERGLATE:· Object to the form.
     16· · · · · · ·MR. RIVERO:· Join.
     17· · · · · · ·THE WITNESS:· No, I never asked that because I
     18· · · · don't know that Craig refers to Dave as his partner
     19· · · · many times in the past.
     20· ·BY MR. FREEDMAN
     21· · · · Q.· ·Would it surprise you to learn that Dr. Wright
     22· ·referred to Dave Kleiman as his partner or business
     23· ·partner numerous times in past?
     24· · · · A.· ·I don't really have any reaction to that.
     25· · · · Q.· ·Would that be consistent with what he's told


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     ·1·
       · ·you?
     ·2·
       · · · · A.· ·Well, he's told me that they had no
       · ·partnership agreement and that he always when he sets up
     ·3·
       · ·his companies tries to do so in a form way and that's
     ·4·
       · ·what, you know, that's what he's done in his Australian
     ·5·
       · ·companies for example that he never uses partnerships,
     ·6·
       · ·that Craig always used corporations or other type of
     ·7·
       · ·legal entities like that more formal than partnerships
     ·8·
       · ·so in the context we've had these conversations he said
     ·9·
       · ·I never quote have a business partnership with anyone
     10·
       · ·including Dave Kleiman because that's just not Craig
     11·
       · ·says how he operates.· He would form a corporation or
     12·
       · ·legal entity.
     13·
     14· · · · Q.· ·Did he -- did Dr. Wright talk to you about the
     15· ·fact that he and Dave wanted Bitcoin to be successful?
     16· · · · A.· ·I don't know if he ever said something like
     17· ·that.· I know Craig said he wanted Bitcoin to be
     18· ·successful.· Not sure he talked about Dave.
     19· · · · Q.· ·Well, he told you that Dr. Wright -- Dr.
     20· ·Wright told you he wanted Bitcoin to be successful;
     21· ·right?
     22· · · · A.· ·Not in so many words but he said it's his
     23· ·life's work and he wanted to see the Bitcoin network
     24· ·grow to be used by people all over the world.
     25· · · · Q.· ·And he told you that Dave Kleiman helped him


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     ·1· ·get Bitcoin started, right?
     ·2· · · · A.· ·He didn't use the phrase Dave Kleiman helped
     ·3· ·him get Bitcoin started.· He said Dave provided some
     ·4· ·help in some aspects of Bitcoin such as editing the
     ·5· ·white paper.
     ·6· · · · Q.· ·So Dave Kleiman helped him launch his life's
     ·7· ·work; right?
     ·8· · · · · · ·MR. RIVERO:· Object to the form.
     ·9· · · · · · ·THE WITNESS:· I would not say that.· I don't
     10· · · · have a basis to characterize what happened back
     11· · · · then.· I was not there.
     12· ·BY MR. FREEDMAN
     13· · · · Q.· ·You told me that it was Craig's life work and
     14· ·that Dave helped him with him it so isn't it safe to
     15· ·logically conclude that Dave helped him with his life's
     16· ·work?
     17· · · · · · ·MR. RIVERO:· Object to the form.
     18· · · · · · ·THE WITNESS:· Assisted with aspects of
     19· · · · Bitcoin.· How you characterize the nature of that
     20· · · · involvement is the relationship between the two I
     21· · · · don't have any basis to answer.
     22· ·BY MR. FREEDMAN
     23· · · · Q.· ·It's safe to say that they at least had a
     24· ·common purpose in helping Craig get Bitcoin further
     25· ·along in production, is that fair to say?


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     ·1· · · · · · ·MR. RIVERO:· Objection.
     ·2· · · · · · ·THE WITNESS:· I don't know.· I don't know
     ·3· · · · exactly what was said between the two of them at
     ·4· · · · the time.· I only know that Craig has told me Dave
     ·5· · · · Kleiman was a good friend of his and that he asked
     ·6· · · · him to help edit the white paper and Dave was
     ·7· · · · involved in some other aspects of, you know,
     ·8· · · · Bitcoin in the early days such as responding to
     ·9· · · · some of the posts as Satoshi.
     10· · · · · · ·That's pretty much the extent of what I know
     11· · · · of their -- what they did together with respect to
     12· · · · Bitcoin or not.· I also just know that Craig said
     13· · · · he wanted Dave to mine Bitcoin separately for Dave
     14· · · · and that he helped Dave get mining set up for Dave.
     15· ·BY MR. FREEDMAN
     16· · · · Q.· ·Have you ever asked Dr. Wright about his
     17· ·conflicting sworn statements in this lawsuit?
     18· · · · A.· ·No.· I don't think so.
     19· · · · Q.· ·Have you ever discussed with Craig the
     20· ·consequences of losing this lawsuit for himself?
     21· · · · A.· ·I don't know that we've discussed it in this
     22· ·manner.
     23· · · · Q.· ·Have you discussed it losing this lawsuit in
     24· ·any manner.
     25· · · · A.· ·I think in any lawsuit talking to someone


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     ·1· ·about it -- I think he understands the stakes.· I don't
     ·2· ·think I needed to discuss with him what happens, you
     ·3· ·know, what are the possibilities.
     ·4· · · · Q.· ·I'm a little confused Mr. Nguyen because you
     ·5· ·submitted a declaration claiming to be a liaison as
     ·6· ·necessary to assist in the communication between Dr.
     ·7· ·Wright and his lawyers.· This litigation has been going
     ·8· ·on for two years.· There's been a lot of submissions and
     ·9· ·lot of motions, a lot of depositions but you don't seem
     10· ·to know all that much about the details of the case.
     11· · · · · · ·MR. SILVERGLATE:· Objection to the form, it's
     12· · · · argumentative.
     13· · · · · · ·MR. RIVERO:· I don't think that was a
     14· · · · question.
     15· ·BY MR. FREEDMAN
     16· · · · Q.· ·The question is can you explain to me the
     17· ·apparent contradiction?
     18· · · · · · ·MR. RIVERO:· Objection.
     19· · · · · · ·MR. SILVERGLATE:· Same objection.
     20· · · · · · ·THE WITNESS:· I don't think it's a
     21· · · · contradiction at all.· I got involved in the last
     22· · · · few months to help with certain things related to
     23· · · · the case but not everything.· Honestly a huge
     24· · · · amount of litigation activity.· I have a whole
     25· · · · other full-time job that is more than full time


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         ·1· · · · that takes me around the world quite extensively so
         ·2· · · · I contributed time whether or not I was asked to
         ·3· · · · and on things where my particular knowledge or
         ·4· · · · participation would be helpful but not on
         ·5· · · · everything.
         ·6· ·BY MR. FREEDMAN
         ·7· · · · Q.· ·Your submissions in this case Mr. Nguyen said
                                                                    d
         ·8· ·that
             ·that you are on the litigation team.· Is that not an
R

         ·9· ·accurate
             ·accurate statement?
         10· · · · A.· ·Sure.· As I said that doesn't mean I have the
                                                                    e
         11· ·time
             ·time or capability to be involved in everything.
         12· · · · Q.· ·Did you ever discuss with Dr. Wright that
         13· ·Judge Reinhart had found his non-compliance with the
         14· ·Court order was willful and in bad faith?
         15· · · · A.· ·I did not discuss that particular finding.                I
         16· ·have discussed the overall order and the effect of it.
         17· · · · Q.· ·Did you ever, you know, look Dr. Wright in the
         18· ·eye and say hey, you have the ability to comply with
         19· ·this order you really should?
         20· · · · A.· ·I asked him not that question.· I asked him do
         21· ·you have -- I think our main focus when I spent a lot of
         22· ·my effort in helping Craig and his counsel were on this
         23· ·topic of being able to provide the list of Bitcoin
         24· ·public addresses for any of his holdings through I guess
         25· ·a time period that was requested which I think was the


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     ·1· ·end of 2013.· So that was my main focus and we discussed
     ·2· ·that.
     ·3· · · · Q.· ·Did you ever discuss the value of the
     ·4· ·intellectual property that Dr. Wright was able to obtain
     ·5· ·from W&K?
     ·6· · · · A.· ·No.
     ·7· · · · Q.· ·Did you ever discuss in the context of your
     ·8· ·litigation liaison hat whether or not Craig Wright was
     ·9· ·Satoshi Nakamoto?
     10· · · · · · ·MR. RIVERO:· Just one moment.· I'm going to
     11· · · · state an objection but allow the question.
     12· · · · · · ·THE WITNESS:· We discussed that topic
     13· · · · generally outside of the litigation.· I don't
     14· · · · recall that we discussed it specifically in the
     15· · · · context of the litigation.
     16· ·BY MR. FREEDMAN
     17· · · · Q.· ·In your declaration Mr. Nguyen you said that
     18· ·you are a liaison between Dr. Wright and his lawyers in
     19· ·other legal matters unrelated to the Florida lawsuit.
     20· ·Do you recall that?
     21· · · · A.· ·Yes.
     22· · · · Q.· ·What other legal matters are you a liaison in?
     23· · · · A.· ·Well, I have helped interface with lawyers in
     24· ·let's see there are some -- I think he's had other
     25· ·litigation so some of the defamation cases that he's


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     ·1· ·been involved with.· I've had relatively light role in
     ·2· ·those and there have been -- I think beyond I think non-
     ·3· ·litigation matters but those are the ones that sort of
     ·4· ·pop up to mind.
     ·5· · · · Q.· ·This is the defamation action against Peter
     ·6· ·McCormack?
     ·7· · · · A.· ·I actually don't think I've been involved in
     ·8· ·that case.
     ·9· · · · Q.· ·Which defamation action were you involved
     10· ·with?
     11· · · · A.· ·I know there's been several others and I've
     12· ·communicated with -- I think there was one with I can't
     13· ·remember I think there was one Vitalik Buterin.· I can't
     14· ·remember one with person called McCormack and I have
     15· ·been involved with communications with related to some
     16· ·other things but those are the main ones that I can
     17· ·remember now.
     18· · · · Q.· ·What was your role there?· What were the
     19· ·context of those discussions?
     20· · · · A.· ·As I said not very extensive.· I think to help
     21· ·keep track of what was going on and a couple times I got
     22· ·involved to explain to the lawyers things such as who
     23· ·all these people were in the industry.· If you're a
     24· ·lawyer coming into this world and trying to understand
     25· ·what the implication of someone calling Craig Wright a


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     ·1· ·fraud who is the one saying this, why does it matter.
     ·2· ·What's the difference between the competing tasks of
     ·3· ·Bitcoin.
     ·4· · · · · · ·So understanding the industry dynamics and
     ·5· ·what's driving all of the fighting about this.· Because
     ·6· ·you're new to the Bitcoin world it may not make sense
     ·7· ·why are people fighting over Craig and whether he is
     ·8· ·Satoshi or not and why is this person saying it and this
     ·9· ·person saying it.
     10· · · · · · ·So for example yes, I think another one I got
     11· ·involved with was there was a case against Roger Ver and
     12· ·so this educating the lawyers about who all these
     13· ·players are, what their role and stance is in the
     14· ·Bitcoin universe.
     15· · · · Q.· ·Did you have any discussions about the type of
     16· ·evidence that would be supplied in those cases to prove
     17· ·that Dr. Wright really is Satoshi Nakamoto?
     18· · · · A.· ·I knew that Craig was trying to collect
     19· ·evidence to give to the lawyers.· I don't recall that I
     20· ·had any specific conversations about whatever he
     21· ·provided to them.
     22· · · · · · ·(Plaintiff's Exhibit No. 4 was
     23· · · · · · ·marked for identification.)
     24· ·BY MR. FREEDMAN
     25· · · · Q.· ·I'm going to share with you Mr. Nguyen what


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     ·1· ·is -- going to mark as four now or is this five.
     ·2· ·Exhibit 4 which is a declaration of Dr. Wright this one
     ·3· ·is submitted on May 8th of 2019.· We discussed these
     ·4· ·briefly and you thought that you were involved in their
     ·5· ·drafting.· Now that you have eyes on it can you confirm
     ·6· ·that for me?
     ·7· · · · A.· ·I don't know that I've seen this one before.
     ·8· ·I'm not sure I've seen this one before.· I need to look
     ·9· ·at this one.· Could you scroll down to the second page?
     10· ·I don't recognize the header at the top saying
     11· ·confidential.· I don't recall ever seeing a declaration
     12· ·that had that.
     13· · · · Q.· ·This could have been added after you drafted
     14· ·the substance of it?
     15· · · · A.· ·I also don't recall ever seeing a declaration
     16· ·with the address in Vietnam like I'm seeing here which
     17· ·is --
     18· · · · Q.· ·You don't recall this declaration at all?
     19· · · · A.· ·No.· In particular because the bit messages
     20· ·sticking out to me.· I don't recall seeing a declaration
     21· ·especially the address with the different font in
     22· ·Vietnam.
     23· · · · Q.· ·Do you see here where in paragraph 15 of this
     24· ·declaration where Dr. Wright says "from 2011 through
     25· ·2013 I directed staff at High Secured and Signia


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         ·1· ·Enterprises to acquire Bitcoin on the market and to hold
         ·2· ·it on behalf of Tulip Trust?"
         ·3· · · · A.· ·I see the statement in the declaration.
         ·4· · · · Q.· ·Have you ever heard that from Dr. Wright
         ·5· ·before?
         ·6· · · · A.· ·Not specifically that.
         ·7· · · · Q.· ·Did he say anything to you about High Secured
         ·8· ·and
             ·and their acquiring Bitcoin for him?
         ·9· · · · A.· ·I recall there was a memo that he discussed
         10· ·having
             ·having Bitcoin acquired that he signed on Liberty
         11· ·Reserve
             ·Reserve which was an exchange that operated at the time
         12· ·one
             ·one of the first Bitcoin exchanges that was now being
         13· ·shut
             ·shut down on it.· I recall there being something about
         14· ·High
             ·High Secured being involved in acquiring some Bitcoin
         15· ·and
             ·and I don't know it's the same thing but I recall the
         16· ·main
             ·main thing I discussed with him at one point is that he
         17· ·tried
             ·tried to buy Bitcoin off of Liberty Exchange at one
         18· ·point
             ·point which was separate and the Bitcoin that his
         19· ·company
             ·company international investment mined.· It's different

H-R-PK   20· ·pools
             ·pools of Bitcoin.· There's Bitcoin he mined and Bitcoin
         21· ·he
             ·he bought off of Liberty or excuse me Liberty Reserve
         22· ·the
             ·the name of the exchange.· I remember him discussing
         23· ·that
             ·that that led to a bit of a price spike up at one point
         24· ·in
             ·in time to Bitcoin because he or someone on his behalf
         25· ·was
             ·was trying to purchase Bitcoin on the exchange.


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     ·1· · · · Q.· ·Did you have -- did you review or did you have
     ·2· ·nChain's lawyers review the discovery responses in this
     ·3· ·litigation?
     ·4· · · · A.· ·Discovery responses from Craig?
     ·5· · · · Q.· ·Yes.
     ·6· · · · · · ·MR. SILVERGLATE:· Can you repeat the question
     ·7· · · · please?
     ·8· ·BY MR. FREEDMAN
     ·9· · · · Q.· ·Yes, did you have -- did you or did you have
     10· ·nChain's lawyers review the discovery responses that
     11· ·Craig served in this litigation?
     12· · · · A.· ·Are you talking about written discovery
     13· ·responses I don't think so.
     14· · · · Q.· ·Has nChain provided documents to Dr. Wright
     15· ·for use in this litigation?
     16· · · · A.· ·Not that I know of.
     17· · · · Q.· ·You testified at your last deposition that you
     18· ·did not collect documents from your nChain e-mail
     19· ·address in response to the subpoena; is that correct?
     20· · · · A.· ·That's correct.
     21· · · · Q.· ·Did you ask nChain for your e-mail?
     22· · · · A.· ·Well, as I said the time period going through
     23· ·May 2018 I didn't have access to the mailbox I used at
     24· ·the time and so that's why I didn't provide any e-mails
     25· ·for you.· No, I did not ask nChain to provide e-mails.


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     ·1· · · · Q.· ·Has nChain been involved in the discovery
     ·2· ·process in this litigation at all?
     ·3· · · · A.· ·I mean I guess that's -- I was involved in the
     ·4· ·context of being nChain's representative while I was
     ·5· ·still, you know, had my involvement with nChain and so
     ·6· ·in that capacity yes, I was also wearing two hats nChain
     ·7· ·representative and also legal liaison to Craig and his
     ·8· ·lawyers but beyond that I don't think so.
     ·9· · · · Q.· ·Why did you not ask nChain for your old
     10· ·e-mails so you can respond to the subpoena?
     11· · · · A.· ·Because that's not my data.
     12· · · · Q.· ·Does Dr. Wright have access to documents at
     13· ·nChain that you believe are relevant to this lawsuit?
     14· · · · A.· ·No idea.· I have no idea because that's -- I
     15· ·haven't seen the extent of discovery request and again
     16· ·that would be nChain's data not Dr. Wright.
     17· · · · Q.· ·You told me earlier you had discussions with
     18· ·Mr. Tarter around the settlement discussions that were
     19· ·taking place in the lawsuit.· Do you recall that?
     20· · · · A.· ·Yes.
     21· · · · · · ·(Plaintiff's Exhibit No. 5 was
     22· · · · · · ·marked for identification.)
     23· ·BY MR. FREEDMAN
     24· · · · Q.· ·Do you know before we go there let me just
     25· ·show you one last Exhibit 5.· This is the -- Dr.


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     ·1· ·Wright's May 13th declaration and I'm going to let you
     ·2· ·take a look at it.· Do you recall preparing or helping
     ·3· ·prepare this declaration?
     ·4· · · · A.· ·I don't recall.· This doesn't look familiar.
     ·5· · · · Q.· ·So safe to say this was drafted without your
     ·6· ·input?
     ·7· · · · A.· ·I don't recall either way.· Like I said it
     ·8· ·doesn't look familiar.· I can't say I remember seeing it
     ·9· ·before or was involved.· I don't have a memory of it.
     10· · ·
     11· ·
     12·
     13· ·
     14· · ·
     15·
     16· ·
     17· ·
     18· ·
     19·
     20· ·
     21· ·
     22· ·
     23· ·
     24· ·
     25· · · · · · ·


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     ·1· · · ·
     ·2· · · ·
     ·3· · · ·
     ·4· · · ·
     ·5· ·BY MR. FREEDMAN
     ·6· · · ·
     ·7· ·
     ·8· · · ·
     ·9· ·
     10· ·
     11· ·
     12· ·
     13· ·       .
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     ·1·
     ·2· ·
     ·3· · · · Q.· ·Did you ever discuss this lawsuit with Stefan
     ·4· ·Matthews?
     ·5· · · · A.· ·Yes.
     ·6· · · · Q.· ·Have you discussed -- what were the
     ·7· ·discussions you had with Stefan Matthews?
     ·8· · · · · · ·MR. SILVERGLATE:· Jimmy, hang on a second.· So
     ·9· · · · if the discussions with Mr. Matthews in his
     10· · · · function as I believe chief executive officer at
     11· · · · nChain deals with nChain seeking legal advice then
     12· · · · that would be privileged.· So bear that in mind
     13· · · · when you're answering his questions.
     14· · · · · · ·THE WITNESS:· Okay.· Stefan Matthews is
     15· · · · chairman, board chairman.
     16· · · · · · ·MR. SILVERGLATE:· Chairman.
     17· · · · · · ·THE WITNESS:· In general when a lawsuit was
     18· · · · first filed we discussed the fact that the lawsuit
     19· · · · was filed, that I was going to help Craig find
     20· · · · counsel and then periodically like Calvin Ayre did
     21· · · · he asked me what was going on with the lawsuit.
     22· ·BY MR. FREEDMAN
     23· · · · Q.· ·Did you ever discuss any of the developments
     24· ·of the lawsuit with Mr. Matthews?
     25· · · · · · ·MR. SILVERGLATE:· Again same admonition,


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     ·1· ·Jimmy, if it deals with nChain seeking legal advice
     ·2· ·in your capacity as nChain's CEO or advisory board
     ·3· ·chair then that would be privileged.
     ·4· · · · THE WITNESS:· Okay.· So the question is what
     ·5· ·did I discuss developments in the case?
     ·6· · · · MR. FREEDMAN:· Yes.
     ·7· · · · THE WITNESS:· I think at one point I let
     ·8· ·Stefan know the motion to dismiss the case on
     ·9· ·jurisdictional grounds had been denied so the case
     10· ·would be proceeding.· I think several times we
     11· ·discussed the amount of time the case would take up
     12· ·of Craig's time and affect his ability to devote
     13· ·time to the nChain business so we discussed that.
     14· · · · I believe that Stefan also told me he had some
     15· ·communications with Ira Kleiman at some point a
     16· ·number of years ago where Stefan tried to offer him
     17· ·some money to resolve the claim I guess to -- it
     18· ·was something related to shareholder interest in
     19· ·one of the Australian companies Craig had been
     20· ·involved with but that had been rejected by Ira and
     21· ·Stefan said that he thought Ira made a mistake
     22· ·doing that and he should have taken the monetary
     23· ·offer and that was I think some of the main things
     24· ·I discussed.
     25


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     ·1· ·BY MR. FREEDMAN
     ·2· · · · Q.· ·Do you know how much Stefan offered Ira?
     ·3· · · · A.· ·I don't.
     ·4· · · · Q.· ·Do you know how involved Mr. Matthews was in
     ·5· ·communicating with Ira at that time?
     ·6· · · · A.· ·I don't.· I think might have sent e-mails with
     ·7· ·him but I don't recall.
     ·8· · · · Q.· ·Did Mr. Matthews tell you that he was editing
     ·9· ·and helping form the communications that came from
     10· ·Ramona and Craig and that went to Ira?
     11· · · · A.· ·No, he did not tell me that.
     12· · · · Q.· ·You testified in your declaration that you
     13· ·submitted to the Court that you participated in
     14· ·developing defense strategies.· Do you recall that?
     15· · · · A.· ·I don't remember if that was the phrase that
     16· ·was used but the declaration.
     17· · · · Q.· ·Sure.· Let's take a look.· So we are in
     18· ·paragraph 12.· Do you see the declaration in front of
     19· ·you?· Participating in developing defense strategies, Do
     20· ·you see that?
     21· · · · A.· ·Yes.
     22· · · · Q.· ·What do you mean by that?
     23· · · · A.· ·Well, we discussed for example at one point
     24· ·that Craig's position was there was no partnership
     25· ·agreement between Craig and Dave Kleiman and I think at


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     ·1· ·some point I had a conversation with Craig and his
     ·2· ·lawyers about how they would establish that and in
     ·3· ·addition we had said most of my time talking about how
     ·4· ·to respond to the questions about the Bitcoin holdings
     ·5· ·and Craig's family trust and the argument that's being
     ·6· ·made that about whether he was able to access them or
     ·7· ·not.· He had to demonstrate whether he had ability to
     ·8· ·control the trust or not.· That was kind of main focus
     ·9· ·of things I discussed.
     10· · · · Q.· ·So how -- what was your ultimate decision
     11· ·during those conversations about how Rivero, Mestre
     12· ·would go about trying to establish that there wasn't a
     13· ·partnership in the case?
     14· · · · A.· ·Well, it wasn't my decision.· Obviously they
     15· ·asked for my input based on what I knew of Craig and
     16· ·early Bitcoin days and the long and short of it is there
     17· ·is no partnership agreement between two and as I
     18· ·mentioned earlier there's no partnership agreement
     19· ·between Craig and Dave Kleiman and Craig's practice has
     20· ·always been to set up companies as far as operations and
     21· ·not use a partnership which is more informal structure.
     22· ·He's always done corporations for example.
     23· · · · · · ·So we discussed those things.· It wasn't my
     24· ·decision as to what ultimate defense strategy they used
     25· ·or not.· They asked for my input.


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     ·1· · · · Q.· ·During your discussions with Dr. Wright about
     ·2· ·Dave Kleiman right after the lawsuit was filed did he
     ·3· ·mention to you that Dave used drugs?
     ·4· · · · A.· ·Yes.
     ·5· · · · Q.· ·What did he say about his drug use?
     ·6· · · · A.· ·Just that he used drugs.· Craig said that Dave
     ·7· ·used drugs.· I think he might have said Dave might have
     ·8· ·purchased some drugs off of one of those marketplaces.
     ·9· ·I'm not sure he said he used Bitcoin or not but those
     10· ·were things I remember him saying.
     11· · · · Q.· ·Did you ask him how he knew that?
     12· · · · A.· ·No.
     13· · · · Q.· ·Did you ask him why that was relevant?
     14· · · · A.· ·No.
     15· · · · Q.· ·Did he say that Dave's -- did he say that Dave
     16· ·used drugs to a point where he was not helpful to Craig
     17· ·any more?
     18· · · · A.· ·At some point I think Craig said that Dave
     19· ·disappeared is not the right word.· He had lost sort of
     20· ·touch with Dave or hadn't heard from him in a while and
     21· ·this may have been when Dave -- I don't know if he was
     22· ·hospitalized or having health conditions and Craig
     23· ·wasn't sure whether drugs contributed to it or not.
     24· ·These medical conditions so Craig did mention that there
     25· ·was a period of time where Dave was I don't know the


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     ·1· ·word is you know not available, not able to be
     ·2· ·participating or in contact with Craig also.
     ·3· · · · Q.· ·Did he say when that time period of
     ·4· ·unavailability was?
     ·5· · · · A.· ·I don't recall.
     ·6· · · · Q.· ·But it was your understanding that there was a
     ·7· ·time period when he was available then not available and
     ·8· ·then available again?
     ·9· · · · A.· ·I don't know.
     10· · · · Q.· ·Would you describe during the conversations
     11· ·you had with Rivero, Mestre about how to establish that
     12· ·there was no partnership did you discuss whether or not
     13· ·Craig had followed strict corporate formalities?
     14· · · · A.· ·Sorry, could you repeat that, please?
     15· · · · Q.· ·Did you ever discuss in those communications
     16· ·with Rivero, Mestre and Dr. Wright about whether or not
     17· ·he had observed strict corporate formalities for the
     18· ·rest of his businesses?
     19· · · · A.· ·No.· I don't recall discussing that.
     20· · · · Q.· ·Did you recall in your declaration you
     21· ·testified that you communicated the lawyers' mental
     22· ·impression Dr. Wright facilitated in defense of
     23· ·plaintiff's claims?
     24· · · · A.· ·I don't recall the phrase mental impression.
     25· · · · Q.· ·Let's take a look here paragraph 12 "I


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     ·1· ·therefore acted as a legal liaison between Dr. Wright
     ·2· ·and his litigation team, participated in developing
     ·3· ·defense strategies and communicate the lawyers' mental
     ·4· ·impressions to Dr. Wright facilitate defense to
     ·5· ·plaintiff's claims."· Do you recall that now?
     ·6· · · · A.· ·Yes.
     ·7· · · · Q.· ·What were the mental impressions that you
     ·8· ·conveyed to Dr. Wright?
     ·9· · · · A.· ·I think the main thing is the -- Craig's
     10· ·lawyers when they first really reached out to me to get
     11· ·I think they were frustrated with the inability to
     12· ·communicate well with him and understand what he was
     13· ·saying about Bitcoin public addresses, Bitcoin holding,
     14· ·the encrypted file.
     15· · · · · · ·So then I would go back to Craig and say
     16· ·Craig, they're not understanding you.· However you're
     17· ·communicating this this is, you know, you need your
     18· ·lawyers to understand they're getting frustrated, you're
     19· ·getting frustrated.· This is a conversation I had with
     20· ·many people about Craig and so the main sort of mental
     21· ·impressions I began conveying was that whatever he was
     22· ·doing to communicate explaining information to his
     23· ·lawyers they were not understanding and here are
     24· ·examples of things they were not understanding and we
     25· ·need to do a better job of helping them to understand so


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       ·1· ·they can explain it to the Court.
       ·2· · · · Q.· ·What particularly did they not understand?
       ·3· · · · A.· ·I think in the beginning there was confusion
       ·4· ·of what was meant by the encryption keys, private keys.
       ·5· ·As we've talked about today the difference between the
       ·6· ·private key and key slice instances for this encrypted
       ·7· ·file and then layers within it versus the private keys
       ·8· ·necessary to spend Bitcoin.
       ·9· · · · · · ·So that was one thing I remember having to
       10· ·have multiple conversations between and involving
       11· ·Craig's lawyers to be able to explain to Craig's lawyers
       12· ·were not understanding that at the time.· Pretty sure
       13· ·they do now.· Then we also discussed public addresses,
       14· ·what are they, how are they used in the Bitcoin system
       15· ·and I had to explain to Craig however you're talking
       16· ·about this they're not understanding so we need to
       17· ·clarify this.
       18· · · · Q.· ·Did you eventually clear up with them the
       19· ·issues they were having with private keys?
       20· · · · A.· ·I think over time.· I mean it wasn't just me.
       21· ·There was a lot of conversations, you know, with Craig
       22· ·as well.
       23· · · · Q.· ·Did you ever discuss this lawsuit with Steven
R-H
       24· ·Shadders?
            Shadders?
       25· · · · A.· ·Yes.


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       ·1· · · · Q.· ·What were the contents of the communication
       ·2· ·with
            with Steve Shadders?
            w
       ·3· · · · A.· ·I think in the very beginning just casual
       ·4· ·conversations.·
            conversations.· People at nChain knew the lawsuit was
            c
       ·5· ·happening
            happening so periodically I might get a question about
            h
       ·6· ·what
            what was going on with it.· I would not say very much
            w
       ·7· ·other
            other than it's in the process of the Court.
            o
       ·8· · · · · · ·Later I had a more detailed conversation with
       ·9· ·Steven
            Steven about the case when he was asked by Craig to see
       10· ·if
            if he could determine or to determine make probabilistic
       11· ·list
            list of the Bitcoin holdings that Craig's companies
       12· ·would
            would have mined since Craig was very clear about the
            w
       13· ·fact
            fact that he was not able at the time to provide a list
       14· ·of
            of the Bitcoin public addresses which you had requested
            o
       15· ·and
            and which the Court had ordered him to provide.
       16· · · · Q.· ·What was that discussion about?
H-R
       17· · · · A.· ·I discussed with Steve Shadders the idea Craig
       18· ·had
            had about how he might be able to probabilistically
            h
       19· ·generate
            generate a list that was not 100 percent accurate but
       20· ·that
            that would narrow down the field of public address
            t
       21· ·possibilities
            possibilities as much as possible.· I had a conversation
            p
       22· ·with
            with Steve about how we can even do that and we had
            w
       23· ·discussions
            discussions as to going on the process to try to do
            d
       24· ·that.
            that.
            t
       25· · · · Q.· ·Did Mr. Shadders ever let you know that he had


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     ·1· ·made a mistake in generating that list?
     ·2· · · · A.· ·No.
     ·3· · · · Q.· ·Were you part of the process of identifying
     ·4· ·the non-marker bite which is one of the criteria that
     ·5· ·Mr. Shadders identified with Dr. Wright?
     ·6· · · · A.· ·No, I was not involved in the setting -- I
     ·7· ·think they tried to explain to me what they were doing
     ·8· ·and I didn't understand it.· I did not set the criteria.
     ·9· · · · Q.· ·Did Dr. Wright ever say something to you along
     10· ·the lines of "Dave was a key part of everything that I
     11· ·did?"
     12· · · · A.· ·I don't recall him using that phrase.
     13· · · · Q.· ·Did he say something like that?
     14· · · · A.· ·No.
     15· · · · Q.· ·Did he ever tell you that Dave spoke as
     16· ·Satoshi?
     17· · · · A.· ·He did not use that phrase.
     18· · · · Q.· ·He said something similar though?
     19· · · · A.· ·Well, as I said earlier he told me that
     20· ·Dave -- that there was an online account to which
     21· ·Satoshi Nakamoto posted online messages and communicated
     22· ·to the world on these cryptography focused message
     23· ·boards and that at some times Dave was one of the people
     24· ·along with Craig who posted replies as Satoshi.
     25· · · · Q.· ·Did Dr. Wright tell you anybody else posted


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     ·1· ·replies besides him and Dave Kleiman?
     ·2· · · · A.· ·I'm trying to remember that.· I think there --
     ·3· ·I can't remember whether he said Hal Finney or anyone
     ·4· ·else did but I don't remember exactly.
     ·5· · · · Q.· ·There is a -- there is a media transcript of
     ·6· ·Dr. Wright where he says that Dave was the nice version
     ·7· ·of Satoshi.· Did you ever hear him say something like
     ·8· ·that?
     ·9· · · · A.· ·I don't think I ever heard Craig say something
     10· ·like that.· I have a vague memory of reading that.
     11· · · · Q.· ·You're part of -- you're part of two different
     12· ·joint defense agreements.· Do either or those joint
     13· ·defense agreements have a provision for the sharing of
     14· ·documents between each other?
     15· · · · A.· ·I think so.
     16· · · · Q.· ·Are you aware of a podcast where Dr. Wright
     17· ·was being interviewed and asked about -- are you aware
     18· ·of a bad crypto podcast entitled "is Craig Wright the
     19· ·real Satoshi" where Dr. Wright was being interviewed?
     20· · · · A.· ·Not that I recall sitting right here.· There
     21· ·were a lot of interviews like I do so hard to remember
     22· ·them all.
     23· · · · Q.· ·Do you recall that after Dr. Wright had been
     24· ·asked whether he claimed to be Satoshi Nakamoto he
     25· ·responded "I also said if you have a partnership and


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     ·1· ·someone dies it's no longer a partnership?"
     ·2· · · · A.· ·I never heard that before.
     ·3· · · · Q.· ·Did Dr. Wright ever tell you that Dave did all
     ·4· ·the Bitcoin mining and not him?
     ·5· · · · A.· ·No.
     ·6· · · · Q.· ·Would it surprise you to learn that he said
     ·7· ·that in an e-mail?
     ·8· · · · · · ·MR. RIVERO:· Object to the form.
     ·9· · · · · · ·THE WITNESS:· I guess I would need to
     10· · · · understand what all the Bitcoin mining referred to
     11· · · · since there was different Bitcoin mining.
     12· ·BY MR. FREEDMAN
     13· · · · Q.· ·Would it surprise you to -- strike that.· Did
     14· ·Dr. Wright ever tell you that I mined quite a number of
     15· ·Bitcoin and I was with my partner so to speak and all
     16· ·this Dave we mined quite a lot?
     17· · · · A.· ·Repeat that, please.
       · · · · Q.· ·Sure.· Did Dr. Wright ever tell you that he
     18·
       · ·mined quite "a lot of Bitcoin" and he was quote "with my
     19·
       · ·partner so to speak in all of this Dave we mined quite a
     20·
       · ·lot?"
     21·
     22·
       · · · · A.· ·Is your question whether I heard that before?
       · · · · Q.· ·Or something similar to that from Dr. Wright.
     23·
       · · · · A.· ·I haven't heard that.· As I explained earlier
     24·
       · ·he's told me that Craig through his company mined and
     25·


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     ·1· ·that Dave also mined separately and that one point Craig
     ·2· ·said people get confused about this purported number of
     ·3· ·1.1 million Bitcoin that Satoshi mined in the public
     ·4· ·computer somehow and I think Craig at one point
     ·5· ·explained to me that, you know, it's because if you look
     ·6· ·the amount Craig mined through his company which is
     ·7· ·about 820,000 coins I believe and I believe that Dave
     ·8· ·mined 300 something thousand coins separately that's
     ·9· ·what people might get this number from but that's been
     10· ·closest he's said to anything resembles what you just
     11· ·quoted to me.
     12· · · · Q.· ·Did Dr. Wright ever tell you that there was a
     13· ·trust set up to put a number of Bitcoin that Dave was
     14· ·mining which was used as a funding mechanism for
     15· ·research for both him and Mr. Kleiman?
     16· · · · A.· ·Sorry, could you repeat that?
     17· · · · Q.· ·Sure.· Did Dr. Wright ever tell you that there
     18· ·was a trust set up to put a number of Bitcoin in that
     19· ·Dave was mining and that was a funding mechanism for
     20· ·research that both he and Mr. Kleiman were undertaking?
     21· · · · A.· ·No.
     22· · · · Q.· ·Did he ever talk to you about him and Dave
     23· ·creating a trust of some kind together?
     24· · · · A.· ·No.
     25· · · · Q.· ·Did he ever tell you that him and Dave --


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     ·1· ·sorry, did Dr. Wright ever tell you that he and Dave
     ·2· ·combined assets into any form of account or trust?
     ·3· · · · A.· ·No.
     ·4· · · · Q.· ·Did Rivero, Mestre ever call you up with
     ·5· ·concerns about Dr. Wright committing what appeared to be
     ·6· ·perjury or submitting what appeared to be forged
     ·7· ·documents?
     ·8· · · · A.· ·No, they didn't call me up with concerns
     ·9· ·saying we're concerned.· They called me up I don't know
     10· ·if they called but we had some communications about the
     11· ·allegations being made by you and your firm that there
     12· ·were documents that were accused to be forged.
     13· · · · Q.· ·So Rivero, Mestre was unconcerned about the
     14· ·perjury allegations?
     15· · · · · · ·MR. RIVERO:· Object to the form.
     16· · · · · · ·THE WITNESS:· I can't say what their state of
     17· · · · mind is or not.· I can tell you the -- there's been
     18· · · · communication about it.
     19· ·BY MR. FREEDMAN
     20· · · · Q.· ·What were the contents of those
     21· ·communications?
     22· · · · A.· ·I don't know that we went into them a lot of
     23· ·detail.· I know we discussed the allegation was being
     24· ·made and that it needed to be responded to especially if
     25· ·the case went to trial that the lawyers need to be able


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     ·1· ·to understand what happened with Craig, understand the
     ·2· ·documents that were at issue.
     ·3· · · · · · ·More for example when there was a difference
     ·4· ·between an e-mail versus a PDF of an e-mail but metadata
     ·5· ·is reflected in documents and I mostly said this is, you
     ·6· ·know, something you're going to have to deal with at
     ·7· ·trial if this case goes to trial.
     ·8· · · · Q.· ·Was there any concern at trial that Dr. Wright
     ·9· ·was actually forging documents in litigation?
     10· · · · · · ·MR. RIVERO:· Object to the form.
     11· · · · · · ·THE WITNESS:· I don't know.· I never read
     12· · · · anything like that.
     13· ·BY MR. FREEDMAN
     14· · · · Q.· ·Rivero, Mestre never called you up to express
     15· ·concern that Dr. Wright might be actively forging
     16· ·documents in litigation?
     17· · · · A.· ·I don't think so they ever said that.
     18· · · · Q.· ·They never called you up to express concern
     19· ·that he was submitting perjurious testimony in the
     20· ·proceeding?
     21· · · · A.· ·Again I don't think we ever talked about it in
     22· ·that way.· Obviously in any litigation if somebody the
     23· ·other side says they're saying something inconsistent or
     24· ·they think is not honest you have to be able to explain
     25· ·to be able to respond to that.· That's what we talked


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     ·1· ·about.
     ·2· · · · Q.· ·Was there any discussion as the interpreter
     ·3· ·for Dr. Wright on how to ensure that he would stop
     ·4· ·contradicting himself or giving one testimony and then
     ·5· ·changing it in the future to another?
     ·6· · · · · · ·MR. SILVERGLATE:· Object to the form of the
     ·7· · · · question.
     ·8· · · · · · ·MR. RIVERO:· Join.
     ·9· · · · · · ·THE WITNESS:· So obviously I am not going to
     10· · · · accept the premise of your question changing
     11· · · · testimony from one form to the other.· One because
     12· · · · I wasn't tracking every bit of testimony that was
     13· · · · being given in the case in that time and obviously
     14· · · · I've seen something as changes to certain documents
     15· · · · and things.
     16· · · · · · ·We didn't really discuss the exact documents
     17· · · · themselves.· I was trusting the lawyers would do
     18· · · · their job and communicate with Craig to figure out
     19· · · · what happened on a particular topic.· We sort of
     20· · · · talked about the general topic this is going to
     21· · · · need to be dealt with at trial so you're going to
     22· · · · have to spend some time with Craig understanding
     23· · · · what happened and how his version of the events
     24· · · · could be corroborated.
     25


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     ·1· ·BY MR. FREEDMAN
     ·2· · · · Q.· ·Let me understand.· Are you saying that you do
     ·3· ·not believe Craig has contradicted himself under oath in
     ·4· ·this litigation?
     ·5· · · · · · ·MR. RIVERO:· Object to the form.
     ·6· · · · · · ·MR. SILVERGLATE:· Object to the form.
     ·7· · · · · · ·THE WITNESS:· I can't -- yes, I can't say one
     ·8· · · · way or the other.· I have not read all his
     ·9· · · · testimony.
     10· ·BY MR. FREEDMAN
     11· · · · Q.· ·Did you ever ask Dr. Wright if he had a
     12· ·certain type of document and then he later was able to
     13· ·sign that document?
     14· · · · A.· ·No.· Not that I can recall.
     15· · · · Q.· ·Did you ever hear Dr. Wright refer to Dave
     16· ·Kleiman as his best friend and business partner?
     17· · · · A.· ·I've heard him refer to Dave as his best
     18· ·friend.· I have not heard Craig refer to Dave Kleiman as
     19· ·his business partner.
     20· · · · Q.· ·Did Dr. Wright ever tell you that he and Dave
     21· ·Kleiman with were working on smart contracts?
     22· · · · A.· ·No.
     23· · · · Q.· ·Did he ever tell you that he and Dave Kleiman
     24· ·were working on Bitcoin Exchange?
     25· · · · A.· ·No.


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     ·1· · · · Q.· ·Did he ever tell you that or sorry, did Dr.
     ·2· ·Wright ever tell you that in order to fund his work Dave
     ·3· ·and him sold code?
     ·4· · · · A.· ·I'm sorry, they sold what?
     ·5· · · · Q.· ·Code.
     ·6· · · · A.· ·I believe he said they had worked on online
     ·7· ·gambling software and I don't know if they sold it but
     ·8· ·somehow made money from online gambling related
     ·9· ·software.
     10· · · · Q.· ·Did Dr. Wright tell you what Dave Kleiman did
     11· ·with regards to that online gaming software?
     12· · · · A.· ·No.
     13· · · · Q.· ·So he never explained what Dave Kleiman's
     14· ·contribution was?
     15· · · · A.· ·No.
     16· · · · Q.· ·There is an e-mail that that Dr. Wright sent
     17· ·that said Dave could edit his way from hell and back.
     18· ·Did he ever say a comment to you about that or something
     19· ·similar to that?
     20· · · · A.· ·Could you repeat that it cut out a little bit
     21· ·during the question?
     22· · · · Q.· ·Sure.· There is an e-mail Dr. Wright has
     23· ·written that said Dave could edit his way through hell
     24· ·and back.· Did Dr. Wright ever make any reference like
     25· ·that about Dave's coding ability to you?


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     ·1· · · · A.· ·No.
     ·2· · · · Q.· ·Did you ever discuss Dave's coding ability
     ·3· ·with Dr. Wright?
     ·4· · · · A.· ·No, I don't think so.
     ·5· · · · Q.· ·What about Rivero, Mestre?
     ·6· · · · A.· ·No.
     ·7· · · · Q.· ·Did Dr. Wright ever tell you Dave could not
     ·8· ·code?
     ·9· · · · A.· ·No.
     10· · · · Q.· ·Did Dr. Wright ever tell you he believed Dave
     11· ·to be a poor coder?
     12· · · · A.· ·No.
     13· · · · Q.· ·Did Dr. Wright ever tell you that the
     14· ·allegations in the lawsuit were preposterous because
     15· ·Dave could never have coded the Bitcoin protocol or
     16· ·Bitcoin database?
     17· · · · A.· ·No, he did not say that.
     18· · · · Q.· ·Did Dr. Wright ever tell you that the
     19· ·allegations in the lat were preposterous because Dave
     20· ·could not help him due to his drug addiction?
     21· · · · A.· ·He didn't say preposterous.· I think he said
     22· ·taken it way that he told me that Dave had a serious
     23· ·medical condition, that Dave used drugs and that he
     24· ·provided help such as editing the white paper but wasn't
     25· ·available for chunks of time to do the work that was


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      ·1· ·involved.· I wouldn't phrase it the way you phrased but
      ·2· ·he said things that way.
      ·3· · · · Q.· ·Did he say when Dave Kleiman became
      ·4· ·unavailable?
      ·5· · · · A.· ·No.
      ·6· · · · Q.· ·Would it surprise you to learn that Dr. Wright
      ·7· ·had submitted a witness statement to the Australian
      ·8· ·police that says "this is an idea that I had developed
      ·9· ·with my business partner Dave Kleiman for a period of
      10· ·over a decade?"
      11· · · · · · ·MR. RIVERO:· Object to the form.
      12· · · · · · ·THE WITNESS:· No, I have not seen that
      13· · · · statement.
      14· ·BY MR. FREEDMAN
      15· · · · Q.· ·I just ask if that would surprise you to hear
      16· ·that, is that inconsistent that Dr. Wright told you
      17· ·since the initiation of this lawsuit?
      18· · · · · · ·MR. RIVERO:· Objection.
      19· · · · · · ·THE WITNESS:· I don't know whether it was
      20· · · · inconsistent or not.
      21· ·BY MR. FREEDMAN
      22· · · · Q.· ·So there is a world in which it is consistent
      23· ·with Dr. Wright -- let me rephrase that.· There is a way
      24· ·in which the statement that Dr. Wright was Dave
      25· ·Kleiman's partner for over a decade is consistent with


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      ·1· ·his post litigation statements?
      ·2· · · · · · ·MR. RIVERO:· Objection.
      ·3· · · · · · ·THE WITNESS:· Like I said I haven't seen the
      ·4· · · · statement or the context which it was fully made so
      ·5· · · · it's hard for me to comment about whether it's
      ·6· · · · consistent or not with anything in this case.
      ·7· ·BY MR. FREEDMAN
      ·8· · · · Q.· ·So you can't say it's inconsistent with the
      ·9· ·statements he's made?
      10· · · · A.· ·Like I said --
      11· · · · · · ·MR. RIVERO:· Objection.
      12· · · · · · ·THE WITNESS:· Can't say either way and it's
      13· · · · hard to comment on statements I haven't seen or the
      14· · · · full context in which they are written.
      15· ·BY MR. FREEDMAN
      16· · · · Q.· ·Are you aware that in a media transcript Dr.
      17· ·Wright stated that in response to -- sorry, in response
      18· ·to questions about Satoshi he said "how many people were
      19· ·involved in Satoshi is probably a better question.· That
      20· ·was two of us."· Did he ever say anything like that to
      21· ·you as well?· Take that one step at a time.· Did you
      22· ·ever see that statement anywhere?
      23· · · · A.· ·No.
      24· · · · Q.· ·Has he ever said something like that to you?
      25· · · · A.· ·No.


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      ·1· · · · Q.· ·Did Dr. Wright ever explain the Australian Tax
      ·2· ·Office proceedings to you?
      ·3· · · · A.· ·He's talked about them.· I would not say he
      ·4· ·explained them to me.
      ·5· · · · Q.· ·Did you ever ask him how Dave Kleiman got
      ·6· ·involved with the Australian Tax Office proceeding?
      ·7· · · · A.· ·No.
      ·8· · · · Q.· ·Did you ever ask him why W&K got involved in
      ·9· ·the Tax Office proceedings?
      10· · · · A.· ·No.· I don't know that I'm aware of that.
      11· · · · Q.· ·Did you ever see an unexecuted signed
      12· ·agreement between W&K and Encrypt?
      13· · · · A.· ·No.
      14· · · · Q.· ·When did you first hear about the existence of
      15· ·a liaison privilege?
      16· · · · A.· ·I guess I don't understand how to answer that
      17· ·question.
      18· · · · Q.· ·Were you always aware of a liaison privilege
      19· ·as far as --
      20· · · · · · ·MR. SILVERGLATE:· Object to the form.
      21· · · · · · ·THE WITNESS:· In my -- whether you call it
      22· · · · liaison or not I know in my past experience when I
      23· · · · was a lawyer there were situations where a client
      24· · · · had various types of representatives or agents
      25· · · · involved in communicating with their lawyers with


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      ·1· · · · respect to legal matters and those indeed have
      ·2· · · · privilege so not as though I first became aware of
      ·3· · · · anything with the phrase legal liaison.
      ·4· · · · · · ·I'm generally aware that courts have found
      ·5· · · · various types representatives and agents on behalf
      ·6· · · · of clients involving the attorney client.
      ·7· ·BY MR. FREEDMAN
      ·8· · · · Q.· ·Was the first time you heard of the word
      ·9· ·liaison privilege when you asserted it in this
      10· ·proceeding?
      11· · · · · · ·MR. SILVERGLATE:· Object to the form.
      12· · · · · · ·THE WITNESS:· I wouldn't -- I would say I
      13· · · · won't necessarily say try to assert some legally
      14· · · · called liaison privilege.· The phrase we use to try
      15· · · · to describe the role I was playing and that that
      16· · · · was a type of representative of a client.
      17· · · · · · ·MR. FREEDMAN:· We'll introduce I think we're
      18· · · · on Exhibit 6 now, Rick?
      19· · · · · · ·THE COURT REPORTER:· Correct.
      20· · · · · · ·(Plaintiff's Exhibit No. 6 was
      21· · · · · · ·marked for identification.)
      22· ·BY MR. FREEDMAN
      23· · · · Q.· ·Exhibit 6 to the deposition which is Bates
      24· ·defense 159784.· This is an e-mail chain between --
      25· ·forwarded from Craig to John Chesher and bunch of other


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      ·1· ·folks CC to his wife Ramona Watts and it's an e-mail
      ·2· ·chain between him and Mark Ferrier May of 2013.· Have
      ·3· ·you ever seen this document?
      ·4· · · · A.· ·No.
      ·5· · · · Q.· ·I want you to take a look that the e-mail from
      ·6· ·Craig to Mark Ferrier on the 23rd of May 2013 here it
      ·7· ·says "if this works we all win.· I had Dave mine the
      ·8· ·Bitcoin overseas and all it has cost is sunk.· I cannot
      ·9· ·miss what I never have."· I have never touched the
      10· ·Bitcoin we created in the overseas trust and companies
      11· ·and what I care about is making something more."· Do you
      12· ·see that?
      13· · · · A.· ·I do see that.· I think it says OS Trust, not
      14· ·overseas trust.
      15· · · · Q.· ·Okay, it says OS Trust, you're correct.· Have
      16· ·you -- is this statement consistent with other
      17· ·statements Dr. Wright has told you about his
      18· ·relationship with Dave Kleiman and their mining of
      19· ·Bitcoin?
      20· · · · A.· ·I don't know because I don't know what Bitcoin
      21· ·he is talking about here.
      22· · · · Q.· ·So it would be consistent with Dr. Wright's
      23· ·statements to you that he did mine some Bitcoin with
      24· ·Dave Kleiman?
      25· · · · A.· ·No, that's not consistent because I never said


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      ·1· ·to you that Craig mined Bitcoin with Dave Kleiman.
      ·2· · · · Q.· ·He says "the Bitcoin we created in the OS
      ·3· ·trust and I had Dave mine the Bitcoin overseas" so I'm
      ·4· ·trying to understand if that's consistent with
      ·5· ·statements he's made to you that he had Dave Kleiman
      ·6· ·mine Bitcoin overseas.· Is that consistent with
      ·7· ·statements he's made in the past?
      ·8· · · · A.· ·I said I cannot tell from this e-mail which
      ·9· ·Bitcoin Craig is talking about when he says I had Dave
      10· ·mine the Bitcoin overseas.· It's possible he's referring
      11· ·to the Bitcoin that he -- that Dave separately mined
      12· ·that Craig helped him set up for but that was not
      13· ·jointly mined Bitcoin.
      14· · · · · · ·It's possible it was Dave's separately mined
      15· ·Bitcoin.· Without knowing the context of this involved
      16· ·in the communication I don't know which Bitcoin he is
      17· ·talking about.
      18· · · · Q.· ·He says "I have never touched the Bitcoin we
      19· ·create in the OS Trust."· So isn't he implying that
      20· ·that's part of his Bitcoin as well?
      21· · · · A.· ·I don't know.· You're asking me to speculate
      22· ·about an e-mail I'm not involved in.
      23· · · · Q.· ·Did Dr. Wright ever tell you that he worked
      24· ·with Dave Kleiman to create autonomous agents in the
      25· ·Bitcoin block?


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      ·1· · · · A.· ·Autonomous what?
      ·2· · · · Q.· ·Agents in the Bitcoin block?
      ·3· · · · A.· ·No, he never told me that.
      ·4· · · · Q.· ·Did he ever tell you he was working with Dave
      ·5· ·Kleiman to create a completely open and malleable form
      ·6· ·of script-able money?
      ·7· · · · A.· ·No.
      ·8· · · · Q.· ·Did Dr. Wright ever tell you that he was
      ·9· ·working with Dave Kleiman on ways to program and
      10· ·distribute contract using Bitcoin to form agreements
      11· ·with people via the block chain?
      12· · · · A.· ·No.
      13· · · · Q.· ·Did Dr. Wright ever tell you he was working
      14· ·with Dave Kleiman to create Smart Property?
      15· · · · A.· ·No.
      16· · · · Q.· ·Do any of these things sound like projects Dr.
      17· ·Wright has ever talked to you about over the course of
      18· ·the relationship?
      19· · · · A.· ·Well, that he's talked about in general or
      20· ·with respect to Dave Kleiman?
      21· · · · Q.· ·No, just in general.
      22· · · · A.· ·Well, we've talked about Smart Contracts
      23· ·often.· It's a very common topic in the block chain
      24· ·world.
      25· · · · Q.· ·Does nChain have intellectual property that


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      ·1· ·relates to smart contracts?
      ·2· · · · A.· ·I'm hearing someone else in the background.
      ·3· · · · Q.· ·Could you please mute your phone or your line
      ·4· ·if you're not me or Mr. Nguyen or one of the attorneys
      ·5· ·defending the deposition.· Does nChain have intellectual
      ·6· ·property that relate to smart contracts?
      ·7· · · · A.· ·Yes.
      ·8· · · · Q.· ·Did you ever discuss that intellectual
      ·9· ·property with Dr. Wright?
      10· · · · A.· ·Well, it's been a while since I looked at the
      11· ·nChain portfolio so hard to think what we discussed.· At
      12· ·one point we discussed one of -- if there was an
      13· ·application for something related to smart contracts.
      14· · · · Q.· ·Did that intellectual property that nChain
      15· ·owns was it sourced from Dr. Wright or his company?
      16· · · · A.· ·It was invented by Dr. Wright at nChain.
      17· · · · Q.· ·What do you mean by invented by Dr. Wright at
      18· ·nChain?
      19· · · · A.· ·Before Craig moved to London and the nChain
      20· ·business was built up he told me he never had any
      21· ·problems working in Australia about patenting anything
      22· ·or forming -- I'll just start the answer over again.
      23· · · · · · ·Before Craig moved from Australia to London
      24· ·and the nChain business was set up he told me never had
      25· ·any thought when he was in Australia of creating any


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      ·1· ·patentable inventions or doing work that led to patents.
      ·2· · · · · · ·He just said he never even thought about it so
      ·3· ·the work his Australian companies were doing was now the
      ·4· ·business model was not attempting to generate patents
      ·5· ·and there's a big difference between doing general
      ·6· ·research work and doing work that actually leads to
      ·7· ·patentable inventions.· Patents are much harder to get
      ·8· ·and requirements are very specific to determine what is
      ·9· ·eligible or not.
      10· · · · · · ·So when we've discussed the concept of smart
      11· ·contracts that is a generally -- a very general topic
      12· ·and a lot of people in the block chain industry are
      13· ·doing.· At one point I learned there was a patent
      14· ·application in the nChain IT portfolio related to
      15· ·something related to smart contracts.· I can't remember
      16· ·exactly what because smart contracts is a very broad
      17· ·concept in the block chain world.· Can't just get a
      18· ·patent on the idea of smart contracts and some very
      19· ·specific implementation that's unique and we discussed
      20· ·that and I remember discussing something it's something
      21· ·he had come up with once he was at nChain.
      22· · · · Q.· ·Did you ask him if Dave Kleiman had anything
      23· ·to do with the creation of that particular patent or the
      24· ·technology -- let's get a clear record.· Did you ever
      25· ·ask him if Dave Kleiman was at all involved in the


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      ·1· ·creation of idea or intellectual property that
      ·2· ·eventually formed that smart contracts patent?
      ·3· · · · A.· ·No, I did not ask.
      ·4· · · · Q.· ·How can you exclude the possibility that it
      ·5· ·was as a result of a collaboration with Dave Kleiman?
      ·6· · · · · · ·MR. RIVERO:· Object to the form.
      ·7· · · · · · ·THE WITNESS:· It wasn't relevant to the
      ·8· · · · conversation we were having at the time so I did
      ·9· · · · not ask.
      10· ·BY MR. FREEDMAN
      11· · · · Q.· ·So you can't exclude the possibility then that
      12· ·Dave Kleiman's work did contribute to that patent?
      13· · · · · · ·MR. RIVERO:· Object to the form.
      14· · · · · · ·THE WITNESS:· I don't know what Dave Kleiman
      15· · · · worked on with Craig or not in any details.· There
      16· · · · was no way for me to comment on that.
      17· ·BY MR. FREEDMAN
      18· · · · Q.· ·So it's possible his work did contribute to
      19· ·the patent?
      20· · · · · · ·MR. RIVERO:· Object to the form.
      21· · · · · · ·THE WITNESS:· I don't know if it's possible or
      22· · · · not possible.· I have no idea specifics what he
      23· · · · worked on some seven, eight, nine years ago.
      24· ·BY MR. FREEDMAN
      25· · · · Q.· ·So it's impossible that Dave Kleiman worked --


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      ·1· ·strike that.· It's your testimony that it's impossible
      ·2· ·that Dave Kleiman's work contributed to the creation of
      ·3· ·the patent?
      ·4· · · · · · ·MR. RIVERO:· Object to the form.
      ·5· · · · · · ·THE WITNESS:· I did not -- I said I did not
      ·6· · · · say that.· I said I have no basis on which to
      ·7· · · · comment either way whether it's possible or not
      ·8· · · · possible.
      ·9· ·BY MR. FREEDMAN
      10· · · · Q.· ·You can't say it's impossible?
      11· · · · · · ·MR. RIVERO:· Objection.
      12· · · · · · ·THE WITNESS:· Well, impossibility is a very
      13· · · · difficult thing to render an opinion about.· I can
      14· · · · tell you that Craig told me that his work on that
      15· · · · particular invention happened after he was in
      16· · · · London and the nChain business was started up.
      17· · · · That would of course be several years after Dave
      18· · · · passed away.· Dave passed away in 2013.· Craig did
      19· · · · not move to London, I believe, until the end of
      20· · · · 2015.
      21· · · · · · ·So on that basis he can tell me the invention
      22· · · · that he conceived after he was in London so that
      23· · · · would tell me that without even knowing what they
      24· · · · actually worked that would not be plausible that
      25· · · · Dave Kleiman would have some role in that if Craig


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      ·1· · · · did not invent it until at least two years after
      ·2· · · · Dave passed away.
      ·3· ·BY MR. FREEDMAN
      ·4· · · · Q.· ·Yes, but that's not what I'm asking.· I'm
      ·5· ·simply asking whether it is impossible or possible that
      ·6· ·Dave Kleiman's work contributed to the patent.· Binary
      ·7· ·question, something is either impossible or possible no
      ·8· ·matter how remote?
      ·9· · · · · · ·MR. RIVERO:· Object to the form.
      10· · · · · · ·THE WITNESS:· I have no basis whether to say
      11· · · · whether something is impossible or possible about
      12· · · · what they worked on together.
      13· · · · · · ·MR. RIVERO:· Now that the answer is done.               I
      14· · · · see now the REC symbol up here.· Mr. Freedman, are
      15· · · · you recording this Zoom?
      16· · · · · · ·MR. FREEDMAN:· We are recording the Zoom, yes.
      17· · · · · · ·MR. RIVERO:· I have objected to this before
      18· · · · and I continue to object.· I do not know the basis
      19· · · · in the rules what happened.· I don't know the basis
      20· · · · in the rules that allows you without notice to
      21· · · · record in a Zoom.· It's a different format from the
      22· · · · official recording.
      23· · · · · · ·MR. FREEDMAN:· Mr. Rivero, it is the official
      24· · · · recording and been noticed that way.· If you have a
      25· · · · problem we can discuss it afterwards.· I am not


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      ·1· · · · wasting my time on that.
      ·2· · · · · · ·MR. RIVERO:· You're saying this recording is
      ·3· · · · the official recording?
      ·4· · · · · · ·MR. FREEDMAN:· Correct.
      ·5· · · · · · ·MR. RIVERO:· We will take it up later.
      ·6· · · · · · ·MR. FREEDMAN:· Mr. Nguyen, I am sharing with
      ·7· · · · you the defense 01914160 which I believe is Exhibit
      ·8· · · · 7, is that correct Mr. Court reporter?
      ·9· · · · · · ·THE COURT REPORTER:· Yes.
      10· · · · · · ·(Plaintiff's Exhibit No. 7 was
      11· · · · · · ·marked for identification.)
      12· ·BY MR. FREEDMAN
      13· · · · Q.· ·Mr. Nguyen, this is an e-mail from Craig
      14· ·Wright to John Chesher and Andrew Summer and a CC to his
      15· ·wife Ramona Watts.· Have you ever seen that e-mail
      16· ·before?
      17· · · · A.· ·I don't think so.
      18· · · · Q.· ·You asked me to see the statement in context
      19· ·I'm showing you the statement in context I would like
      20· ·you to look at the bottom of the e-mail last line on
      21· ·April 1st 2014 at 10:20 p.m. Dr. Wright said "I was not
      22· ·the person doing the mining, Dave was."· Go ahead and
      23· ·look at that e-mail.
      24· · · · A.· ·I read it.
      25· · · · Q.· ·Do you really believe there is an


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      ·1· ·interpretation of this e-mail Dr. Wright is not claiming
      ·2· ·control over Bitcoin that Dave mined?
      ·3· · · · · · ·MR. RIVERO:· Object to the form.
      ·4· · · · · · ·THE WITNESS:· Like I said even reading this
      ·5· · · · e-mail I don't know what Bitcoin you're talking
      ·6· · · · about in the e-mail.
      ·7· ·BY MR. FREEDMAN
      ·8· · · · Q.· ·But it's pretty clear from this e-mail
      ·9· ·Dr. Wright had access to Bitcoin that Dave Kleiman
      10· ·mined?
      11· · · · · · ·MR. RIVERO:· Object to the form.
      12· · · · · · ·THE WITNESS:· I have no idea.
      13· · · · · · ·MR. FREEDMAN:· You really have no idea?
      14· · · · · · ·MR. SILVERGLATE:· Object to the form.
      15· · · · · · ·MR. RIVERO:· Objection.
      16· · · · · · ·THE WITNESS:· You're asking me to talk about
      17· · · · an e-mail I wasn't involved in from your -- you're
      18· · · · asking me to comment -- you're asking me to comment
      19· · · · about an e-mail I was not involved in that Craig
      20· · · · used before I even knew Craig or even Dave Kleiman.
      21· · · · I don't know what Bitcoin they're talking about.
      22· ·BY MR. FREEDMAN
      23· · · · Q.· ·There are talking about Bitcoin; right?
      24· · · · A.· ·Yes.
      25· · · · Q.· ·That Bitcoin Dave did all the mining for;


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      ·1· ·right?
      ·2· · · · A.· ·I don't know.· As I said earlier Craig's told
      ·3· ·me Dave mined Bitcoin separately from Craig.· I don't
      ·4· ·know whether that is what's being discussed here or not.
      ·5· · · · Q.· ·He says in the e-mail the main thing here is
      ·6· ·that Dave mined this outside Australia and even if we
      ·7· ·had managed to screw this somehow lose control of the
      ·8· ·company still been using overseas rights to Bitcoin.· Do
      ·9· ·you really Dr. Wright is not claiming ownership or
      10· ·control over this Bitcoin?
      11· · · · · · ·MR. SILVERGLATE:· Objection, argumentative.
      12· · · · · · ·THE WITNESS:· I have no basis to answer that
      13· · · · question.
      14· · · · · · ·MR. RIVERO:· Please note my objection to the
      15· · · · last question as well.
      16· ·BY MR. FREEDMAN
      17· · · · Q.· ·Mr. Nguyen, Dr. Wright said that; right?
      18· · · · · · ·MR. RIVERO:· Objection.
      19· · · · · · ·THE WITNESS:· Well, first of all.· I have to
      20· · · · assume he wrote the e-mail.· I don't know what was
      21· · · · in his mind at the time.
      22· ·BY MR. FREEDMAN
      23· · · · Q.· ·Do you have any reason to believe he did not
      24· ·write this e-mail?
      25· · · · A.· ·No.· I don't have any reason either way.


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      ·1· · · · Q.· ·Is this consistent -- is this e-mail
      ·2· ·consistent with the discussions that you had with Dr.
      ·3· ·Wright?
      ·4· · · · A.· ·Well, as I mentioned I can't tell which e-mail
      ·5· ·he's talking about.· What Bitcoin he is talking about
      ·6· ·there.· If he is referring to the Bitcoin Dave mined
      ·7· ·separately which is what Craig always told me that Dave
      ·8· ·mined Bitcoin separately it would be consistent.· He's
      ·9· ·saying Dave mined Bitcoin and did it outside of
      10· ·Australia.
      11· · · · Q.· ·Did you ever discuss the potential
      12· ·consequences of losing this lawsuit with Calvin Ayre?
      13· · · · A.· ·You mean if Craig loses the lawsuit?
      14· · · · Q.· ·Yes.
      15· · · · A.· ·I think the topic has come up.
      16· · · · Q.· ·Did you ever discuss the potential
      17· ·consequences of losing this lawsuit -- sorry, strike
      18· ·that.· Why don't you tell me the content of those
      19· ·communications with Mr. Ayre about Dr. Wright losing
      20· ·this lawsuit?
      21· · · · A.· ·Well, we didn't discuss Dr. Wright losing this
      22· ·lawsuit.· Calvin had very repeatedly said to me he
      23· ·believes Craig will win the lawsuit but, you know, I
      24· ·think at one point he said what would happen if he lost.
      25· ·I said the claim is for a partnership between the two of


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      ·1· ·them and there would be a claim to 50 percent interest
      ·2· ·in the assets of -- that are at issue which is Bitcoin
      ·3· ·Holdings and intellectual property assets but I said
      ·4· ·cases like this it's really unclear even if there are
      ·5· ·rulings what ultimately is the net affect of it but
      ·6· ·that's what was -- what was in play.
      ·7· · · · Q.· ·Does nChain have any intellectual property
      ·8· ·that involves script-able money?
      ·9· · · · A.· ·That involves what, I'm sorry?
      10· · · · Q.· ·Script-able money.
      11· · · · A.· ·I don't know.
      12· · · · Q.· ·Does nChain have any intellectual property
      13· ·that involves smart property?
      14· · · · · · ·MR. RIVERO:· One moment.· How does this relate
      15· · · · to questions that Mr. Nguyen did not answer on the
      16· · · · assertion of privilege in the prior deposition?
      17· · · · · · ·MR. FREEDMAN:· Mr. Rivero, I don't have time.
      18· · · · So you can instruct him not to answer and we can
      19· · · · take it up with the Judge if you do.
      20· · · · · · ·MR. RIVERO:· I'm asking for the basis --
      21· · · · · · ·MR. FREEDMAN:· I don't have an obligation to
      22· · · · give you a basis.· Give the instruction and we'll
      23· · · · deal with it afterwards.
      24· · · · · · ·MR. RIVERO:· No, sir, I need to decide -- I
      25· · · · can't instruct Mr. Nguyen, he is not my client.


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      ·1· · · · · · ·MR. FREEDMAN:· Let Spencer make the decision.
      ·2· · · · · · ·MR. RIVERO:· You know this is obviously --
      ·3· · · · you're obviously beyond the scope but go ahead.
      ·4· · · · · · ·MR. FREEDMAN:· Spencer, can he answer the
      ·5· · · · question?
      ·6· · · · · · ·MR. SILVERGLATE:· Yes.· I haven't instructed
      ·7· · · · him not to answer.· I share the same concern.· This
      ·8· · · · has nothing to do with the questions that he was
      ·9· · · · instructed not to answer and we're coming up on
      10· · · · three hours now.
      11· · · · · · ·MR. FREEDMAN:· Yep.· Mr. Court reporter, can
      12· · · · you please read back the question?
      13· · · · · · ·(Thereupon, a portion of the record
      14· · · · · · ·was read back by the reporter.)
      15· ·BY MR. FREEDMAN
      16· · · · Q.· ·Does nChain have any intellectual property
      17· ·that involves smart property?
      18· · · · · · ·MR. RIVERO:· Objection.
      19· · · · · · ·THE WITNESS:· I don't know.
      20· ·BY MR. FREEDMAN
      21· · · · Q.· ·Did you ever discuss smart property with
      22· ·Dr. Wright?
      23· · · · · · ·MR. RIVERO:· Same objection.
      24· · · · · · ·THE WITNESS:· I don't think so.
      25


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      ·1· ·BY MR. FREEDMAN
      ·2· · · · Q.· ·Do you know whether or not Dr. Wright has been
      ·3· ·provided with documents pursuant to the joint defense
      ·4· ·agreement that you -- well, defense agreements that you
      ·5· ·and he have entered into?
      ·6· · · · A.· ·I don't think he has.
      ·7· · · · Q.· ·Did you and Dr. Wright ever discuss
      ·8· ·script-able money?
      ·9· · · · A.· ·No.· Not a phrase that was ever used.
      10· · · · · · ·MR. FREEDMAN:· I need to grab the restroom.               I
      11· · · · think we're almost done anyways.
      12· · · · · · ·MR. RIVERO:· No, sir.· The time is up anyway
      13· · · · but we're not taking a break.
      14· · · · · · ·MR. FREEDMAN:· Mr. Rivero, I'm going to get up
      15· · · · and go to the restroom and I would ask --
      16· · · · · · ·MR. RIVERO:· You have used -- looking at the
      17· · · · clock, it's 3:01.· You have used your time and you
      18· · · · do this every time.
      19· · · · · · ·MR. FREEDMAN:· You came on to this call about
      20· · · · seven or eight minutes late.· We're going to take a
      21· · · · break now, I'm going to use the restroom.· Let's go
      22· · · · off the record and we can have the discussion off
      23· · · · the record.
      24· · · · · · ·MR. RIVERO:· Go ahead, do whatever you want to
      25· · · · do.


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      ·1· · · · · · ·THE VIDEOGRAPHER:· We're off the video record
      ·2· · · · at 7:01 GMT and 3:01 p.m. EST.
      ·3· · · · · · ·MR. FREEDMAN:· I'll let you all figure that
      ·4· · · · out when I use the restroom.
      ·5· · · · · · ·(Thereupon, a brief recess was taken.)
      ·6· · · · · · ·THE VIDEOGRAPHER:· We're back on the video
      ·7· · · · record at 7:08 p.m. GMT, 3:08 p.m. EST.
      ·8· ·BY MR. FREEDMAN
      ·9· · · · Q.· ·Mr. Nguyen, when you communicated with
      10· ·Dr. Wright via e-mail about the lawsuit shortly after
      11· ·being sued what e-mail address did you send those
      12· ·communications to?
      13· · · · A.· ·To?
      14· · · · Q.· ·Yes.
      15· · · · A.· ·I don't recall.
      16· · · · Q.· ·Was it an @RCJBR e-mail address?
      17· · · · A.· ·I know he has that but I don't recall if that
      18· ·was that or to his nChain e-mail account.· I think it
      19· ·was he at times was using more of his nChain account.               I
      20· ·don't recall getting e-mails from his personal account
      21· ·until much more recently.
      22· · · · Q.· ·In your last deposition you testified that you
      23· ·acted as an interpreter also between Ramona and Craig.
      24· ·Can you tell me how you acted as an interpreter there?
      25· · · · A.· ·I don't recall that was an interpreter between


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      ·1· ·Ramona and Craig often.· I would -- there were times I
      ·2· ·would talk with Ramona about situations where Craig was
      ·3· ·getting frustrating and trying to get him to understand
      ·4· ·what was happening with court.· What had to be explained
      ·5· ·which is some of the information we talked about which
      ·6· ·is the question about the encrypted file or key slices
      ·7· ·and sometimes she would be involved in whatever the
      ·8· ·issues was and see if she can do anything to help
      ·9· ·improve the communication with Craig.
      10· · · · Q.· ·And so she did not understand the trust file
      11· ·and its encryption until you helped her understand it,
      12· ·is that an accurate statement?
      13· · · · A.· ·No, it's not that.· It was as part of the
      14· ·process of trying to help Craig's lawyers understand the
      15· ·background and working with Bitcoin's encrypted file
      16· ·barrier I had conversations with Ramona in trying to get
      17· ·Craig to help explain things better because he like me
      18· ·is good at trying to understand Craig.
      19· · · · Q.· ·Do you believe Mr. Nguyen that if Dr. Wright
      20· ·wins this lawsuit that it will be good for BSV?
      21· · · · A.· ·As I said -- you asked me this question last
      22· ·time.· I think in my view it's irrelevant.
      23· · · · · · ·MR. RIVERO:· Objection as beyond the scope.
      24· · · · · · ·MR. FREEDMAN:· I didn't catch that.
      25· · · · · · ·THE WITNESS:· I said you asked me this


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      ·1· · · · question last time.· In my view it's irrelevant the
      ·2· · · · outcome of this lawsuit to -- to what happens to
      ·3· · · · the BSV interest.
      ·4· ·BY MR. FREEDMAN
      ·5· · · · Q.· ·Mr. Ayre share your viewpoint on that?
      ·6· · · · · · ·MR. SILVERGLATE:· Object to the form.
      ·7· · · · · · ·MR. RIVERO:· Same.
      ·8· · · · · · ·THE WITNESS:· I don't know.
      ·9· · · · · · ·MR. FREEDMAN:· I have no more questions.
      10· · · · Thank you for coming again, Mr. Nguyen.
      11· · · · · · ·THE WITNESS:· Thank you.
      12· · · · · · ·MR. SILVERGLATE:· We'll designate the
      13· · · · deposition as confidential subject to
      14· · · · de-designations and we don't waive reading.· We
      15· · · · will read it.
      16· · · · · · ·MR. FREEDMAN:· Thank you.
      17· · · · · · ·THE VIDEOGRAPHER:· Off the video record at
      18· · · · 7:11 p.m. GMT, 3:11 p.m. EST.
      19· · · · · · · · · · ·(Witness excused.)
      20· · · · · · · · ·(Deposition was concluded.)
      21
      22
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      ·2· · · · · · · · CERTIFICATE OF REPORTER

      ·3· · · · · · ·THE STATE OF FLORIDA

      ·4· · · · · · ·COUNTY OF DADE

      ·5

      ·6·   · · · I, Rick Levy, Registered Professional Reporter
      · ·   ·and Notary Public in and for the State of Florida at
      ·7·   ·large, do hereby certify that I was authorized to
      · ·   ·and did report said deposition in stenotype of JIMMY
      ·8·   ·NGUYEN; and that the foregoing pages, numbered from
      · ·   ·212 to 334, inclusive, are a true and correct
      ·9·   ·transcription of my shorthand notes of said
      · ·   ·deposition.
      10
      · ·   · · · I further certify that said deposition was
      11·   ·taken at the time and place hereinabove set forth
      · ·   ·and that the taking of said deposition was commenced
      12·   ·and completed as hereinabove set out.

      13·   · · · I further certify that I am not attorney or
      · ·   ·counsel of any of the parties, nor am I a relative
      14·   ·or employee of any attorney or counsel of party
      · ·   ·connected with the action, nor am I financially
      15·   ·interested in the action.

      16·   · · · The foregoing certification of this transcript
      · ·   ·does not apply to any reproduction of the same by
      17·   ·any means unless under the direct control and/or
      · ·   ·direction of the certifying reporter.
      18
      · ·   · · · IN WITNESS WHEREOF, I have hereunto set my hand
      19·   ·this 31st day of May, 2020.

      20
      · ·   · · · ·_____________________________________
      21
      · ·   ·   ·   ·   ·   Rick Levy, RPR, FPR, Notary Public
      22·   ·   ·   ·   ·   in and for the State of Florida
      · ·   ·   ·   ·   ·   My Commission Expires:· 12/8/2023
      23·   ·   ·   ·   ·   My Commission No.:· GG937684

      24

      25


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      ·1· · · · · · · · · · · · · CERTIFICATE OF OATH

      ·2· ·THE STATE OF FLORIDA

      ·3· · · · · · ·COUNTY OF DADE

      ·4

      ·5· · · · I, Rick Levy, REGISTERED PROFESSIONAL REPORTER,

      ·6· ·Notary Public, State of Florida, certify that JIMMY

      ·7· ·NGUYEN remotely appeared before me on the 26TH day

      ·8· ·of May, 2020 and was duly sworn.

      ·9

      10· · · · · · ·Signed this 31st day of May, 2020.

      11

      12

      13

      14
      · ·   · · · · · · · · · · _________________________
      15
      · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Rick Levy, RPR, FPR
      16·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Notary Public - State of Florida
      · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   My Commission Expires:· 12/8/2023
      17·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   My Commission No.:· GG937684

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      ·1· · · · · · · ·E R R A T A· ·S H E E T

      ·2· ·IN RE:· IRA KLEIMAN VS CRAIG WRIGHT

      ·3· ·DEPOSITION OF:· JIMMY NGUYEN

      ·4· ·TAKEN: 5/26/2020

      ·5· · · ·DO NOT WRITE ON TRANSCRIPT - ENTER CHANGES HERE

      ·6· ·PAGE #· LINE #· ·CHANGE· · · · · · · ·REASON

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      ·9· ·____________________________________________________

      10· ·___________________________________________________

      11· ·____________________________________________________

      12· ·____________________________________________________

      13· ·____________________________________________________

      14· ·____________________________________________________

      15· ·____________________________________________________

      16· ·____________________________________________________

      17· ·Please forward the original signed errata sheet to
      · · ·this office so that copies may be distributed to all
      18· ·parties.

      19·   ·Under penalty of perjury, I declare that I have read
      · ·   ·my deposition and that it is true and correct
      20·   ·subject to· ·any changes in form or substance
      · ·   ·entered here.
      21

      22· ·DATE: ________________________

      23

      24· ·SIGNATURE OF
      · · ·DEPONENT:_________________________________
      25


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      ·1· ·DATE:· · · May 31, 2020

      ·2·   ·TO:·   SPENCER SILVERGLATE, ESQUIRE
      · ·   · · ·   TREVOR GILLUM, ESQUIRE
      ·3·   · · ·   CLARKE SILVERGLATE, P.A.
      · ·   · · ·   799 Brickell Avenue
      ·4·   · · ·   Suite 900
      · ·   · · ·   Miami, Florida 33131
      ·5
      · ·   ·IN RE:· · ·Ira Kleiman vs Craig Wright
      ·6

      ·7· ·Dear Mr. Silverglate:

      ·8·   ·Enclosed please find the original errata page with
      · ·   ·your copy of the transcript so JIMMY NGUYEN may read
      ·9·   ·and sign their transcript.· Please have him/her make
      · ·   ·whatever changes are necessary on the errata page
      10·   ·and sign it.· Then place the original errata page
      · ·   ·back into the original transcript.· Please then
      11·   ·forward the original errata page back to our office
      · ·   ·@1080 Woodcock Road, Suite 100, Orlando, Florida
      12·   ·32803.

      13·   ·If the errata page is not signed by the witness
      · ·   ·within 30 days after this letter has been furnished,
      14·   ·we will then process the transcript without a signed
      · ·   ·errata page.· If your client wishes to waive their
      15·   ·right to read and sign, please have him/her sign
      · ·   ·their name at the bottom of this letter and send it
      16·   ·back to the office.

      17· · · · Your prompt attention to this matter is

      18· ·appreciated.

      19· ·Sincerely,

      20·   ·__________________________________
      · ·   ·RICK E. LEVY, RPR
      21
      · ·   ·I do hereby waive my signature:
      22
      · ·   ·___________________________________
      23·   ·JIMMY NGUYEN

      24· ·cc via transcript:· Vel Freedman, Esq.
      · · · · · · · · · · · · ·Andres Rivero, Esq.
      25· ·file copy


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